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 9

10                         UNITED STATES DISTRICT COURT
11              CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
12
13   DORSEY BENNETT, MICHELLE                   CASE NO.: 8:20-cv-00890-DOC-ADS
     CLINKSCALES, JASON DEUTSCH,
14
     ALICIA DUENAS, IVEETH FIERROS,             DECLARATION OF JOSHUA
15   LORENZO FORD, TINA FOREHAND,               VEDDER IN SUPPORT OF
16
     SPENCER FULLER, ANGELA                     DEFENDANTS HYUNDAI MOTOR
     HAMILTON, LILY JONES, AUDREY               AMERICA’S AND HYUNDAI
17   MAY, RAMON MEZA, RONALD                    MOTOR COMPANY’S MOTION TO
18   PADGETT, PATRICK SANDYS, SARA              COMPEL ARBITRATION OF
     SMITH, SASKIA THOMSON, BRIAN               CLAIMS OF PLAINTIFFS ALICIA
19   VARDARO, AND ELIOTT WILLIS,                DUENAS, IVEETH FIERROS AND
20   individually and on behalf of all others   LILY JONES
     similarly situated,
21                                              Motion to Compel Arbitration; [Proposed]
                        Plaintiffs,             Order Filed Concurrently
22

23   vs.                                        Hearing Date: January 25, 2021
                                                Hearing Time: 8:30 a.m.
24
     HYUNDAI MOTOR AMERICA, a                   Courtroom:    9D
25   Corporation; and HYUNDAI MOTOR
     COMPANY, a business entity,                Assigned to Judge David O. Carter
26

27                      Defendants.             Action Filed: May 12, 2020
                                                Trial Date: None
28



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 1                              DECLARATION OF JOSHUA VEDDER
 2              I, Joshua Vedder, declare as follows:
 3              1.    I have personal knowledge of the facts set forth in this Declaration and, if
 4   called and sworn as a witness, I could and would testify completely thereto under oath. I
 5   submit this Declaration in support of Defendant Hyundai Motor America’s and Hyundai
 6   Motor Company’s Motion to Compel Arbitration of Claims of Plaintiffs Alicia Duenas,
 7   Iveeth Fierros and Lily Jones.
 8              2.    I am a Senior Group Manager, Customer Care Center & Customer Connect,
 9   Customer Experience at Hyundai Motor America (“HMA”). I have held positions at
10   HMA since 2005. Between January 2005 and December 2013, I was a Senior Manager
11   for New Model and Accessory Development at HMA. I have been a Senior Group
12   Manager since December 2013 and have held this position in the Customer Care Center &
13   Customer Connect, Customer Experience Group since 2018.
14              3.    As part of my employment, I am familiar with HMA’s business practices as
15   they relate to 2020 Hyundai Palisade vehicles (the “Palisade”), among many other
16   vehicles. I am also familiar with the allegations in Plaintiffs’ First Amended Complaint
17   (“FAC”) as they relate to Plaintiffs Alicia Duenas’s, Iveeth Fierros’s and Lily Jones’s
18   alleged purchases of Palisade vehicles from authorized Hyundai dealerships in California.
19              4.    Unless otherwise stated, all references below to the 2020 Hyundai Owner’s
20   Handbook and Warranty Information (the “Handbook”) concern the Handbook as existing
21   at the time of Plaintiffs Duenas’s, Fierros’s and Jones’s purchases of the Palisade as
22   alleged in the FAC.
23              5.    In California, all Palisade vehicles sold at authorized Hyundai dealerships
24   include the Handbook with the vehicle, which is made available and provided to the
25   customer at the time of sale, for the customer to keep. I understand that Plaintiffs Duenas,

26   Fierros and Jones allege in the FAC that they relied on the express warranties in the

27   Handbook when they purchased their Palisade vehicles from authorized Hyundai

28   dealerships in California.
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 1              6.    The Handbook also is available online on HMA’s website, at
 2   https://owners.hyundaiusa.com/content/dam/hyundai/us/myhyundai/factory-
 3   warranty/2020/Hyundai-USA-ALL-20MY_PRINT-VERSION.pdf. The Handbook was
 4   available online to Plaintiffs Duenas, Fierros and Jones before and after their purchases of
 5   the Palisade vehicles as alleged in the FAC.
 6              7.    A true and correct electronic copy of the Handbook is attached hereto as
 7   Exhibit 1. Other than being in electronic form, the electronic copy of the Handbook does
 8   not materially differ from the physical copy of the Handbook that is provided to customers
 9   when they purchase their Palisade vehicles from authorized Hyundai dealerships in
10   California.
11              8.    The Table of Contents of the Handbook is one page long and is set forth on
12   the third numbered page of the Handbook. The Table of Contents, in all capital letters and
13   bold font, indicates that the “Hyundai Warranty Information” begins at Section 4 of the
14   Handbook, on page 12.
15              9.     The Table of Contents also identifies that, within the Hyundai Warranty
16   Information Section, on page 13 of the Handbook, there is an agreement for “BINDING
17   ARBITRATION FOR CALIFORNIA VEHICLES ONLY.” The next page of the
18   Handbook after the Table of Contents, on page 4, advises customers to “[p]lease read this
19   handbook carefully to familiarize yourself with the type of service which you are entitled
20   to under each of the warranties applicable to your new Hyundai vehicle.”
21              10.   The agreement for “BINDING ARBITRATION FOR CALIFORNIA
22   VEHICLES ONLY” is set forth at pages 13 to 14 of the Handbook, in the Hyundai
23   Warranty Information Section (the “Arbitration Agreement”). A summary of the warranty
24   coverages offered for the Palisade vehicle is set forth on the page immediately following,
25   on page 15 of the Handbook. Immediately following that, beginning on page 16 of the

26   Handbook, are the specific terms of the different warranty coverages that HMA offers for

27   the Palisade vehicle, including the terms of the “Hyundai New Vehicle Limited

28   Warranty,” the “Hyundai Powertrain Limited Warranty,” the “Hyundai Anti-Perforation
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 1   Limited Warranty,” and the “Replacements Parts and Accessories Limited Warranty,”
 2   among others.
 3              11.    As reflected on Page 13 of the Handbook, the Arbitration Agreement
 4   contains a heading in bold font and all capital letters stating: “BINDING
 5   ARBITRATION FOR CALIFORNIA VEHICLES ONLY.”
 6              12.   California customers are advised in bold font and all capital letters to
 7   “PLEASE READ THIS SECTION IN ITS ENTIRETY AS IT AFFECTS YOUR
 8   RIGHTS.” Directly below, the Handbook advises California customers, in part, that:
 9              If you purchased or leased your Hyundai vehicle in the State of California,
10              you and we each agree that any claim or disputes between us (including
                between you and any of our affiliated companies) related to or arising out of
11              your vehicle purchase, use of your vehicle, the vehicle warranty,
12              representations in the warranty, or the duties contemplated under the
                warranty, including without limitation claims related to the failure to
13              conform a vehicle to warranty, failure to repurchase or replace your vehicle,
14              or claims for a refund or partial refund of your vehicle’s purchase price
                (excluding personal injury claims), shall be resolved by binding arbitration
15              at either your or our election, even if the claim is initially filed in a court of
16              law.
17              13. The Handbook also advises California customers that they may opt out of

18   Arbitration, stating, in bold font and all capital letters:

19              IF YOU PURCHASED OR LEASED YOUR VEHICLE IN
20
                CALIFORNIA, YOUR WARRANTY IS MADE SUBJECT TO THE
                TERMS OF THIS BINDING ARBITRATION PROVISION. BY
21              ACCEPTING BENEFITS UNDER THIS WARRANTY, INCLUDING
22
                HAVING ANY REPAIRS PERFORMED UNDER WARRANTY, YOU
                AGREE TO BE BOUND BY THESE TERMS. IF YOU DO NOT
23              AGREE WITH THESE TERMS, PLEASE CONTACT US AT OPT-
24
                OUT@HMAUSA.COM WITHIN THIRTY (30) DAYS OF YOUR
                PURCHASE OR LEASE TO OPT-OUT OF THIS ARBITRATION
25              PROVISION.
26              14.   Opting out of the Arbitration Agreement is without penalty, as, for example,
27   a California customer will not lose any of the warranty coverages offered for the Palisade
28   vehicle in the Handbook if they choose to opt out of the Arbitration Agreement.
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 1              15.   The Arbitration Agreement in the Handbook states that the “agreement to
 2   arbitrate is intended to be broadly interpreted and to make all disputes and claims
 3   between us (including our affiliated companies) relating to or arising out of your vehicle
 4   purchase, use of your vehicle, or the vehicle warranty subject to arbitration to the
 5   maximum extent permitted by law.”
 6              16.   The Arbitration Agreement provides that it is “governed by the Federal
 7   Arbitration Act,” and requires that “binding arbitration shall be administered by and
 8   through JAMS Mediation, Arbitration and ADR Services (JAMS) under its Streamlined
 9   Arbitration Rules & Procedures.”
10              17.   The Arbitration Agreement provides that “[w]e will pay all JAMS fees for
11   any arbitration except for the initial filing fee of $250. The arbitration will be held in the
12   city or county of your residence. To learn more about arbitration, including how to
13   commence arbitration, you may call any JAMS office or go to www.jamsadr.org.”
14              18.   The Arbitration Agreement further provides, in part, that:
15              The arbitrator may only resolve disputes between you and us and may not
16              consolidate claims without the consent of all parties. The arbitrator cannot
                hear class or representative claims or requests for relief on behalf of others
17              purchasing or leasing Hyundai Motor America vehicles as permitted by law.
18              In other words, you and we may bring claims against the other only in your
                or our individual capacity, and not as a plaintiff or class member in any class
19              or representative action to the maximum extent permitted by law.
20              19.   In response to Plaintiffs’ First Amended Complaint, HMA conducted
21   searches of its records concerning any opt-out of arbitration for Plaintiffs Duenas, Fierros
22   or Jones. HMA did not locate any arbitration opt-out records for Duenas, Fierros or Jones
23   concerning their Palisade vehicles.
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 1              I declare under penalty of perj    under the laws of the United States of America
 2   that the foregoing is true and correct and that this Declaration was executed at
 3   (Y\ ~TCV\     V,e..1o      , California, on   is 27th day of October 2020.
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            UIBUVTFJOGPSNBUJPODPMMFDUFE HFOFSBUFE SFDPSEFEPSTUPSFECZUIF        SFMBUJOHUPZPVSOFX)ZVOEBJWFIJDMF
            WFIJDMF)ZVOEBJIBTDSFBUFEB7FIJDMF0XOFS1SJWBDZ1PMJDZUPFYQMBJO
            IPX UIFTF UFDIOPMPHJFT BOE TFSWJDFT DPMMFDU  VTF  BOE TIBSF UIJT   1MFBTFSFBEUIJTIBOECPPLDBSFGVMMZUPGBNJMJBSJ[FZPVSTFMGXJUIUIF
            JOGPSNBUJPO                                                                 UZQFPGTFSWJDFXIJDIZPVBSFFOUJUMFEUPVOEFSFBDIPGUIFXBSSBOUJFT
                                                                                         BQQMJDBCMFUPZPVSOFX)ZVOEBJWFIJDMF
            :PVNBZSFBEPVS7FIJDMF0XOFS1SJWBDZ1PMJDZPOUIF)ZVOEBJ64"
            DPNXFCTJUFBUIUUQTXXXIZVOEBJVTBDPNPXOFSQSJWBDZQPMJDZ             5PGBNJMJBSJ[FZPVSTFMGXJUIZPVSOFX)ZVOEBJWFIJDMFBOEUPFOTVSF
            BTQY*GZPVXPVMEMJLFUPSFDFJWFBIBSEDPQZPGPVS7FIJDMF0XOFS         DPSSFDUPQFSBUJPOBOENBJOUFOBODFPGZPVSWFIJDMF XFTVHHFTUZPV
            1SJWBDZ1PMJDZ QMFBTFDPOUBDUPVS$VTUPNFS$BSF$FOUFSBU                  BMTPSFWJFXUIFNBJOUFOBODFSFRVJSFNFOUTBOEPQFSBUJPOBMGFBUVSFT
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            $VTUPNFS$BSF$BSFBTTJTUBODFJO4QBOJTIPS,PSFBO SFQSFTFOUBUJWFT
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ZPVSWFIJDMFUP)ZVOEBJsTSFDPNNFOEFEJOTQFDUJPOBOEQSFEFMJWFSZ
QSPDFEVSFTUBOEBSET

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3FHVMBSJOTQFDUJPOBOENBJOUFOBODFCZTLJMMFE)ZVOEBJUFDIOJDJBOT
BSFUIFLFZUPNPSFFG䞫DJFOUPQFSBUJPOPGUIFWFIJDMF5IJTJOTQFDUJPO
BOE NBJOUFOBODF NVTU CF DBSSJFE PVU JO BDDPSEBODF XJUI UIF
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            DPNNJUNFOUUPZPVSDPNQMFUFTBUJTGBDUJPOXJUIUIF)ZVOEBJPXOFSTIJQ          XJUIBTTJTUBODFGPSWBSJPVT3PBETJEF&WFOUT4FF$PWFSBHFTFDUJPO
            FYQFSJFODF*UJTBWBJMBCMFUPZPVJOBMMTUBUFTBOE$BOBEB IPVSTB   GPSEFUBJMTPOQSPHSBNDPWFSBHF5PSFDFJWF3PBETJEF"TTJTUBODF DBMM
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            WFIJDMFTGSPNUIFEBUFUIFWFIJDMFJTEFMJWFSFEUPUIF䞫STUSFUBJMCVZFS
                                                                                              EBTICPBSE
            PSPUIFSXJTFQVUJOUPVTF JOTFSWJDFEBUF XIJDIFWFSJTFBSMJFS GPSB
                                                                                          P 7FIJDMF.JMFBHF
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                                                                                          P %FTDSJQUJPOPGZPVSWFIJDMFsTQSPCMFN




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    BUJPOBM)ZVOEBJ%FBMFSTIJQ-PDBUPS4FSWJDFQSPWJEFTZPVXJUIUIF
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            .PCJMJUZ,JUJOTUFBEPGBTQBSFUJSF
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            DIBSHFXIFOZPVSVOPVU




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            &9$-64*0/4                                                                  )ZVOEBJ.PUPS"NFSJDB )." SFTFSWFTUIFSJHIUUPMJNJUTFSWJDFT
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            DPOEJUJPOTNBOJGFTUJOHUIFNTFMWFTPGGSPBE5PSFDFJWFTFSWJDF UIF
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            WFIJDMFNVTUCFBDDFTTJCMFGSPNBQVCMJDMZNBJOUBJOFESPBE

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            0XOFST)BOECPPL3PBETJEF"TTJTUBODFJTBMJNJUFETFSWJDF QSPWJEFEUP
            ZPVUPIFMQNJOJNJ[FBOZVOGPSFTFFOWFIJDMFPQFSBUJPOJODPOWFOJFODF

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            SFJNCVSTFNFOUGPSBOZDPTUTDIBSHFTGPSSFQBJST QBSUT MBCPS QSPQFSUZ
            MPTTPSBOZPUIFSFYQFOTFJODVSSFEBTBSFTVMUPGBDDJEFOUDPMMJTJPO 
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8FSFDPNNFOEZPVVTFUIFGPMMPXJOHTUFQTUPSFTPMWFZPVSWFIJDMFT
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            NBZOPUCFQPTTJCMF5PFOTVSFUIBUZPVIBWFIBEBOPQQPSUVOJUZUP
            IBWFZPVSDPODFSOGVMMZSFWJFXFE )ZVOEBJ.PUPS"NFSJDBQSPWJEFTBO
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            "MUFSOBUJWF%JTQVUF3FTPMVUJPO BSCJUSBUJPO QSPHSBN)ZVOEBJPGGFST
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                  XXXCCCPSHBVUPMJOF
                                                                                           "EFTDSJQUJPOPGUIFQSPCMFNXJUIZPVSWFIJDMF
            5IJTTFSWJDFJTQSPWJEFEBUOPDPTUUPZPVBOEJTQBSUPG)ZVOEBJsTFGGPSU
                                                                                          ###"650-*/&NBZBMTPBTLZPVGPSPUIFSJOGPSNBUJPOUIBUNBZIFMQ
            UPQSPWJEFZPVXJUIBOJNQBSUJBMUIJSEQBSUZPSHBOJ[BUJPOUPFRVJUBCMZ
                                                                                          UPSFTPMWFZPVSDPODFSOT TVDIBTUIFQVSDIBTFQSJDFPGUIFWFIJDMF UIF
            SFTPMWFZPVSDPODFSOT
                                                                                          NJMFBHFBUUIFUJNFPGQVSDIBTF UIFDVSSFOUNJMFBHFBOEDPQJFTPGSFQBJS
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            "650-*/&XJMMQFSGPSNBSCJUSBUJPOTFSWJDFTPOEJTQVUFTJOWPMWJOH
            )ZVOEBJWFIJDMFTXJUIBOBMMFHFEOPODPOGPSNJUZ EFGFDU PSEF䞫DJFOU
                                                                                          1MFBTF SFGFS UP UIF 0XOFSsT )BOECPPL 4VQQMFNFOU GPS BEEJUJPOBM
            XBSSBOUZQFSGPSNBODF BTNBZCFSFRVJSFECZTUBUFPSGFEFSBMMBX
                                                                                          JOGPSNBUJPOSFHBSEJOHFMJHJCJMJUZSFRVJSFNFOUTJOZPVSTUBUF
            /05&*GZPVSTUBUFMBXSFRVJSFTXSJUUFOOPUJ䞫DBUJPOUPUIFNBOVGBDUVSFS
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*.1035"/5:PVNVTUVTF###"650-*/&QSJPSUPTFFLJOHSFNFEJFT                  MBX UIFEFDJTJPONBZPSNBZOPUCFJOUSPEVDFEBTFWJEFODFCZUIF




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UISPVHIBDPVSUBDUJPOQVSTVBOUUPUIF.BHOVTPO.PTT8BSSBOUZ"DU                DPOTVNFSPSUIFDPNQBOZJOBOZDJWJMDPVSUBDUJPOSFMBUJOHUPBOZ
 UIF"DU FYDFQUJO(FPSHJB BMUIPVHIUIBUPQUJPOJTTUJMMBWBJMBCMFUPZPV   NBUUFSUIBUIBTCFFOSFTPMWFEJOZPVSBSCJUSBUJPOIFBSJOH BOE###
)PXFWFS JGZPVDIPPTFUPTFFLSFNFEJFTUIBUBSFOPUDSFBUFECZUIF"DU          JOWPMWFNFOUJOUIFDBTFXJMMFOEBTXFMM
ZPVBSFOPUSFRVJSFEUPVTF###"650-*/& BMUIPVHIUIBUPQUJPOJTTUJMM
BWBJMBCMFUPZPV:PVNVTUBMTPVTF###"650-*/&JGZPVBSFTFFLJOH             *NQPSUBOU1MFBTFSFGFSUPUIF䞫STUQBHFPGUIF)ZVOEBJ/FX7FIJDMF
SFNFEJFTVOEFSUIF-FNPO-BXTPGZPVSTUBUFJGZPVSTUBUFTUBUVUF              -JNJUFE8BSSBOUZTFDUJPOPGUIJT0XOFSTIBOECPPLGPSBEEJUJPOBM
SFRVJSFTZPVUPEPTP                                                            JNQPSUBOUJOGPSNBUJPOSFHBSEJOHBMUFSOBUJWFEJTQVUFSFTPMVUJPOBOE
                                                                                  PUIFSMFHBMSFNFEJFTBWBJMBCMFUPZPV
"EFDJTJPOTIPVMECFSFOEFSFEXJUIJOEBZTPG"650-*/&sTSFDFJQUPG
ZPVSQSPQFSMZDPNQMFUFE$VTUPNFS$MBJN'PSN###XJMMTFOEZPVBDPQZ
PGUIFBSCJUSBUPSsTEFDJTJPOBOEJGZPVBDDFQUUIFEFDJTJPO BMMQBSUJFTNVTU
DPNQMZXJUIUIFEFDJTJPOXJUIJOUIFUJNFMJNJUT QFSGPSNBODFEBUF TFUCZ
UIFBSCJUSBUPS
"QQSPYJNBUFMZ UXP XFFLT BGUFS UIF QFSGPSNBODF EBUF  ### XJMM
DPOUBDUUIFDPOTVNFSUPWFSJGZUIBUUIFBSCJUSBUPSTEFDJTJPOIBTCFFO
DPNQMFUFE

"650-*/&sTEFDJTJPOTEPOPUJODMVEFBUUPSOFZsTGFFT DJWJMQFOBMUJFT 
QVOJUJWFEBNBHFT NVMUJQMFEBNBHFTPSDPOTFRVFOUJBMEBNBHFTPUIFS
UIBOJODJEFOUBMEBNBHFTXIJDIZPVNBZCFFOUJUMFEUPVOEFSMBX

*GZPVSFKFDUUIFEFDJTJPOPGUIFBSCJUSBUPSZPVNBZQVSTVFPUIFSMFHBM
SFNFEJFTVOEFSTUBUFPSGFEFSBMMBXUIFDPNQBOZXJMMOPUCFPCMJHBUFE
UPQFSGPSNBOZQBSUPGUIFEFDJTJPO%FQFOEJOHPOGFEFSBMPSTUBUF



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"-5&3/"5*7&%*4165&3&40-65*0/                                                  #*/%*/("3#*53"5*0/'03$"-*'03/*"7&)*$-&40/-:




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ZPVSDPODFSOGVMMZSFWJFXFE )ZVOEBJQSPWJEFTBO"MUFSOBUJWF%JTQVUF           BOEXFFBDIBHSFFUIBUBOZDMBJNPSEJTQVUFTCFUXFFOVT JODMVEJOHCFUXFFO
3FTPMVUJPOQSPHSBNUIBUJTPGGFSFEUISPVHI                                     ZPVBOEBOZPGPVSBGGJMJBUFEDPNQBOJFT SFMBUFEUPPSBSJTJOHPVUPGZPVSWFIJDMF
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   ###"650-*/&                                                               XBSSBOUZ PSUIFEVUJFTDPOUFNQMBUFEVOEFSUIFXBSSBOUZ JODMVEJOHXJUIPVU
   "MUFSOBUJWF%JTQVUF3FTPMVUJPO%JWJTJPO                                     MJNJUBUJPODMBJNTSFMBUFEUPUIFGBJMVSFUPDPOGPSNBWFIJDMFUPXBSSBOUZ GBJMVSF
   $PVODJMPG#FUUFS#VTJOFTT#VSFBVT *OD                                    UPSFQVSDIBTFPSSFQMBDFZPVSWFIJDMF PSDMBJNTGPSBSFGVOEPSQBSUJBMSFGVOE
   8JMTPO#PVMFWBSE 4VJUF                                            PGZPVSWFIJDMFTQVSDIBTFQSJDF FYDMVEJOHQFSTPOBMJOKVSZDMBJNT TIBMMCF
   "SMJOHUPO 7"                                                         SFTPMWFECZCJOEJOHBSCJUSBUJPOBUFJUIFSZPVSPSPVSFMFDUJPO FWFOJGUIFDMBJN
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                                                                                WJBBSCJUSBUJPO BTPQQPTFEUPJOBDPVSUPGMBX TVDICJOEJOHBSCJUSBUJPOTIBMMCF
*NQPSUBOU:PVNVTUVTF###"650-*/&QSJPSUPTFFLJOHSFNFEJFT                BENJOJTUFSFECZBOEUISPVHI+".4.FEJBUJPO "SCJUSBUJPOBOE"%34FSWJDFT
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UIF"DU ZPVBSFOPUSFRVJSFEUPVTF###"650-*/& BMUIPVHIUIBU              5IFBSCJUSBUJPOXJMMCFIFMEJOUIFDJUZPSDPVOUZPGZPVSSFTJEFODF5P
PQUJPOJTTUJMMBWBJMBCMFUPZPV:PVNVTUBMTPVTF###"650-*/&JGZPV       MFBSONPSFBCPVUBSCJUSBUJPO JODMVEJOHIPXUPDPNNFODFBSCJUSBUJPO ZPVNBZ
BSFTFFLJOHSFNFEJFTVOEFSUIFt-FNPO-BXTuPGZPVSTUBUFJGZPVSTUBUF        DBMMBOZ+".4PGGJDFPSHPUPXXXKBNTBESPSH
TUBUVUFSFRVJSFTZPVUPEPTP1MFBTFDPOTVMUUIFt$POTVNFS*OGPSNBUJPOu
TFDUJPOPGUIJTIBOECPPLBOEUIF0XOFSsT)BOECPPL4VQQMFNFOUGPS               5IJTBHSFFNFOUUPBSCJUSBUFJTJOUFOEFEUPCFCSPBEMZJOUFSQSFUFEBOEUPNBLF
NPSFJOGPSNBUJPOBCPVUUIF###"650-*/&QSPHSBN5JNFBOENJMFBHF             BMMEJTQVUFTBOEDMBJNTCFUXFFOVT JODMVEJOHPVSBGGJMJBUFEDPNQBOJFT SFMBUJOH
MJNJUBUJPOTNBZBQQMZ1MFBTFSFGFSUPUIF0XOFSsT)BOECPPL4VQQMFNFOU         UPPSBSJTJOHPVUPGZPVSWFIJDMFQVSDIBTF VTFPGZPVSWFIJDMF PSUIFWFIJDMF
GPSBEEJUJPOBMJOGPSNBUJPOSFHBSEJOHFMJHJCJMJUZSFRVJSFNFOUTJOZPVSTUBUF   XBSSBOUZTVCKFDUUPBSCJUSBUJPOUPUIFNBYJNVNFYUFOUQFSNJUUFECZMBX
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            *OBOZBSCJUSBUJPO UIFBSCJUSBUPSTIBMMCFCPVOECZUIFUFSNTPGUIJTBHSFFNFOUBOE     #06/%#:5)&4&5&3.4*':06%0/05"(3&&8*5)5)&4&5&3.4 1-&"4&
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            TIBMMGPMMPXUIFBQQMJDBCMFMBX5IFBSCJUSBUPSTIBMMOPUIBWFUIFQPXFSUPDPNNJU       $0/5"$564"5015065!)."64"$0.8*5)*/5)*35:  %":40':063
            NBOJGFTUFSSPSTPGMBX BOEBOZBXBSESFOEFSFECZUIFBSCJUSBUPSUIBUFNQMPZT            163$)"4&03-&"4&500150650'5)*4"3#*53"5*0/1307*4*0/
            BNBOJGFTUFSSPSPGMBXNBZCFWBDBUFEPSDPSSFDUFECZBDPVSUPGDPNQFUFOU
            KVSJTEJDUJPOGPSTVDIFSSPS5IFBSCJUSBUPSNBZPOMZSFTPMWFEJTQVUFTCFUXFFOZPV
            BOEVTBOENBZOPUDPOTPMJEBUFDMBJNTXJUIPVUUIFDPOTFOUPGBMMQBSUJFT5IF
            BSCJUSBUPSDBOOPUIFBSDMBTTPSSFQSFTFOUBUJWFDMBJNTPSSFRVFTUTGPSSFMJFGPOCFIBMG
            PGPUIFSTQVSDIBTJOHPSMFBTJOH)ZVOEBJ.PUPS"NFSJDBWFIJDMFTBTQFSNJUUFE
            CZMBX*OPUIFSXPSET ZPVBOEXFNBZCSJOHDMBJNTBHBJOTUUIFPUIFSPOMZJO
            ZPVSPSPVSJOEJWJEVBMDBQBDJUZ BOEOPUBTBQMBJOUJGGPSDMBTTNFNCFSJOBOZDMBTT
            PSSFQSFTFOUBUJWFBDUJPOUPUIFNBYJNVNFYUFOUQFSNJUUFECZMBX*GBDPVSUPS
            BSCJUSBUPSEFDJEFTUIBUBOZQBSUPGUIJTBHSFFNFOUUPBSCJUSBUFDBOOPUCFFOGPSDFE
            BTUPBQBSUJDVMBSDMBJNGPSSFMJFG UIFOUIBUDMBJN BOEPOMZUIBUDMBJN NVTUCF
            CSPVHIUJODPVSUBOENVTUCFTUBZFEQFOEJOHBSCJUSBUJPOPGUIFBSCJUSBCMFDMBJNT*G
            BSCJUSBUJPOJTFMFDUFECZFJUIFSQBSUZ UIFQBSUJFTDPMMFDUJWFMZBHSFFUIBUUIFZXBJWF
            UIFJSSJHIUUPBKVSZUSJBM*OOPFWFOUTTIBMMDMBTTBSCJUSBUJPOCFQFSNJUUFE

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            USBOTBDUJPOJOWPMWJOHJOUFSTUBUFDPNNFSDFBOETIBMMCFHPWFSOFECZUIF'FEFSBM
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            "OZJNQMJFEXBSSBOUZPGNFSDIBOUBCJMJUZPSGJUOFTTGPSBQBSUJDVMBS
            QVSQPTFJTMJNJUFEUPUIFEVSBUJPOPGUIFTFXSJUUFOXBSSBOUJFT FYDFQU
            XIFSFUIFEVSBUJPOPGJNQMJFEXBSSBOUJFTJTMJNJUFECZTUBUFMBX JOXIJDI
            DBTFUIFTUBUFMBXEVSBUJPOMJNJUTIBMMBQQMZ4PNFTUBUFTEPOPUBMMPX
            MJNJUBUJPOTPOIPXMPOHBOJNQMJFEXBSSBOUZMBTUT TPUIFBCPWFMJNJUBUJPO
            NBZOPUBQQMZUPZPV

            5IFTFTUBUFEXBSSBOUJFTHJWFZPVTQFDJGJDMFHBMSJHIUT:PVNBZIBWF
            PUIFSSJHIUT XIJDIWBSZGSPNTUBUFUPTUBUFEFQFOEJOHVQPOBQQMJDBCMF
            TUBUFMBX

            */$*%&/5"-03$0/4&26&/5*"-%"."(&4 */$-6%*/(8*5)065
            -*.*5"5*0/ -0440'5*.& */$0/7&/*&/$& -0440'64&0'5)&
            7&)*$-& 03$0..&3$*"--044"3&/05$07&3&%6/%&35)*4
            8"33"/5:

            4PNFTUBUFTEPOPUBMMPXUIFFYDMVTJPOPSMJNJUBUJPOPGJODJEFOUBMPS
            DPOTFRVFOUJBMEBNBHFT TPUIFBCPWFMJNJUBUJPOPSFYDMVTJPONBZOPU
            BQQMZUPZPV



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4&$5*0/                             #:400        ):6/%"*/&87&)*$-&-*.*5&%8"33"/5:

8"33"/5:53"/4'&3"#*-*5:                                                  8"33"/5:+63*4%*$5*0/




                                                                                                                                                      4&$5*0/
5IF/FX7FIJDMF-JNJUFE "OUJ1FSGPSBUJPO-JNJUFE 'FEFSBM&NJTTJPO      5IFTFXBSSBOUJFTBQQMZUPWFIJDMFTNBOVGBDUVSFEUP6OJUFE4UBUFT
1FSGPSNBODF  'FEFSBM &NJTTJPO %FTJHO BOE %FGFDU  $BMJGPSOJB        TQFDJGJDBUJPOT XIJDI BSF EJTUSJCVUFE CZ )ZVOEBJ .PUPS "NFSJDB
&NJTTJPO$POUSPM4ZTUFNT BOE3FQMBDFNFOU1BSUTBOE"DDFTTPSJFT          BOESFHJTUFSFEBOEOPSNBMMZPQFSBUFEJOUIF6OJUFE4UBUFTBOE
-JNJUFEXBSSBOUZDPWFSBHFEFTDSJCFEJOUIJTIBOECPPLBQQMZUPUIF        8BTIJOHUPO %$7FIJDMFTNBOVGBDUVSFEUPPUIFSUIBO6OJUFE4UBUFT
WFIJDMFSFHBSEMFTTPGBDIBOHFJOPXOFSTIJQ BOEBSFUSBOTGFSBCMFUP     TQFDJGJDBUJPOT  EJTUSJCVUFE CZ PUIFS UIBO )."  PS SFHJTUFSFE BOE
TVCTFRVFOUPXOFST                                                        OPSNBMMZPQFSBUFEPVUTJEFUIF6OJUFE4UBUFTBOE8BTIJOHUPO %$ 
                                                                          BSFFOUJUMFEUPXBSSBOUZTFSWJDFPOUIFCBTJTPGUIFXBSSBOUZBQQMJDBCMF
5IF  ZFBST  NJMFT 1PXFSUSBJO -JNJUFE 8BSSBOUZ JT OPU    UPTVDIPUIFSEJTUSJCVUJOHDPVOUSZ
USBOTGFSBCMFBOEBQQMJFTPOMZUPUIFPSJHJOBMPXOFS BTEF䞫OFEVOEFS
0SJHJOBM0XOFSJODMVEFEJOUIF1PXFSUSBJO-JNJUFE8BSSBOUZ 0SJHJOBM   +6%(.&/50'"--8"33"/5:."55&34
0XOFS TFDUJPOPGUIJT0XOFST)BOECPPL
                                                                          )ZVOEBJ.PUPS"NFSJDBSFTFSWFTUIFSJHIUUPGVSOJTIUIF䞫OBMEFDJTJPOT
                                                                          JOBMMXBSSBOUZNBUUFST




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            4&$5*0/                             #:401        ):6/%"*/&87&)*$-&-*.*5&%8"33"/5:

            8)"5*4$07&3&%                                                               #"55&3:
4&$5*0/



            3FQBJSPSSFQMBDFNFOUPGBOZDPNQPOFOUPSJHJOBMMZNBOVGBDUVSFEPS            "OPSJHJOBMFRVJQNFOUCBUUFSZGPVOEUPCFEFGFDUJWFJONBUFSJBMPS
            JOTUBMMFECZ)ZVOEBJ.PUPS$PNQBOZ )ZVOEBJ.PUPS(SPVQ )ZVOEBJ             XPSLNBOTIJQXJMMCFDPWFSFEGPSUIFGJSTUZFBSTGSPNUIFEBUFPG
            .PUPS.BOVGBDUVSJOH"MBCBNB ).." ,JB.BOVGBDUVSJOH.FYJDP                  PSJHJOBMSFUBJMEFMJWFSZPSEBUFPG䞫STUVTF PS NJMFT XIJDIFWFS
             ,.. ,JB.PUPST.BOVGBDUVSJOH(FPSHJB ,..( PS)ZVOEBJ.PUPS               PDDVST䞫STU
            "NFSJDB )." UIBUJTGPVOEUPCFEFGFDUJWFJONBUFSJBMPSXPSLNBOTIJQ
            VOEFSOPSNBMVTFBOENBJOUFOBODF FYDFQUBOZJUFNTQFDJ䞫DBMMZSFGFSSFE       "%+645.&/54
            UPJOUIFTFDUJPO8IBUJT/PU$PWFSFE5PXJOHFYQFOTFUPUIFOFBSFTU
                                                                                          .PTU TFSWJDF BEKVTUNFOUT SFRVJSFE BT B SFTVMU PG B NBOVGBDUVSJOH
            )ZVOEBJ%FBMFSTIJQPS"VUIPSJ[FE4FSWJDF'BDJMJUZJTDPWFSFEXIFOUIF
                                                                                          EFGJDJFODZBSFDPWFSFEGPSUIFGJSTUZFBSPS NJMFT XIJDIFWFS
            WFIJDMFJTJOPQFSBCMFEVFUPBXBSSBOUBCMFEFGFDU3FQBJSTXJMMCFNBEF
                                                                                          PDDVST GJSTU 5IFSFBGUFS  BMM BEKVTUNFOUT XJMM CF DPOTJEFSFE PXOFS
            VTJOHOFX)ZVOEBJ(FOVJOF1BSUTPS)ZVOEBJBVUIPSJ[FESFNBOVGBDUVSFE
                                                                                          NBJOUFOBODFSFTQPOTJCJMJUZ
            QBSUT

            8"33"/5:1&3*0%
            5IFXBSSBOUZQFSJPEJTMJNJUFEUPZFBSTGSPNUIFEBUFPGPSJHJOBMSFUBJM
            EFMJWFSZPSEBUFPG䞫STUVTF PS NJMFT XIJDIFWFSPDDVST䞫STU




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4&$5*0/                             #:402        ):6/%"*/&87&)*$-&-*.*5&%8"33"/5:

"*3$0/%*5*0/&33&'3*(&3"/5$)"3(&                                              3FUBJONBJOUFOBODFTFSWJDFSFDPSET*UNBZCFOFDFTTBSZGPSZPV




                                                                                                                                                              4&$5*0/
                                                                                  UPTIPXUIBUUIFSFRVJSFENBJOUFOBODFIBTCFFOQFSGPSNFE BT
"JSDPOEJUJPOFSSFGSJHFSBOUDIBSHFJTDPWFSFEGPSUIFGJSTUZFBSGSPN
                                                                                  TQFDJ䞫FEJOUIF)ZVOEBJ0XOFSsT.BOVBM
UIFEBUFPGPSJHJOBMSFUBJMEFMJWFSZPSEBUFPG䞫STUVTFXJUIOPNJMFBHF
                                                                                %FMJWFSUIFWFIJDMFEVSJOHSFHVMBSTFSWJDFCVTJOFTTIPVSTUPBOZ
MJNJUBUJPO VOMFTTUIFSFGSJHFSBOUDIBSHFJTEPOFBTQBSUPGBXBSSBOUBCMF
                                                                                  BVUIPSJ[FE)ZVOEBJ%FBMFSTIJQUPPCUBJOXBSSBOUZTFSWJDF
SFQBJS
                                                                                $IFDLGPSUSJN QBJOUPSPUIFSBQQFBSBODFDPODFSOTBUUIFUJNFUIF
                                                                                  OFXWFIJDMFJTEFMJWFSFE
3"%*0"/%406/%4:45&.4
"OFRVJQNFOUSBEJP #MVFUPPUI BOE/BWJHBUJPO4ZTUFNBSFDPWFSFEGPS          8)"5*4/05$07&3&%
UIF䞫STUZFBSTGSPNUIFEBUFPGPSJHJOBMSFUBJMEFMJWFSZPSEBUFPG䞫STU
VTF PS NJMFT XIJDIFWFSPDDVST䞫STU                                    / PSNBMNBJOUFOBODFTFSWJDFTTVDIBTDMFBOJOHQPMJTIJOH FOHJOF
                                                                                  UVOFVQT BGUFSQPMJTIJOH NJOPSBEKVTUNFOUT MVCSJDBUJPO PJMGMVJE
1"*/5                                                                             DIBOHFT 䞫MUFST BOUJGSFF[FDPPMBOUSFQMFOJTINFOU XIFFMBMJHONFOU
                                                                                  BOEUJSFSPUBUJPO VOMFTTTVDITFSWJDFTBSFQFSGPSNFEBTQBSUPGB
1BJOUSFQBJSTBSFDPWFSFEGPSUIF䞫STUZFBSTGSPNUIFEBUFPGPSJHJOBM         DPWFSFEXBSSBOUBCMFSFQBJS
SFUBJMEFMJWFSZPSEBUFPG䞫STUVTFPS NJMFT XIJDIFWFSPDDVST䞫STU    /PSNBMNBJOUFOBODFJUFNT  BSFXBSSBOUFEJOOPSNBMTFSWJDF POMZ
                                                                                  XIFOUIFSFQMBDFNFOUJTUIFSFTVMUPGBEFGFDUJONBUFSJBMPSGBDUPSZ
4PNFNJOPSDPTNFUJDJNQFSGFDUJPOTUIBUBSFWJTJCMFBUEFMJWFSZBSF
                                                                                  XPSLNBOTIJQ GPSNPOUITGSPNUIFEBUFPGPSJHJOBMSFUBJMEFMJWFSZ
DPWFSFEGPSZFBSGSPNUIFEBUFPGPSJHJOBMSFUBJMEFMJWFSZPSEBUFPG
                                                                                  PSEBUFPGGJSTUVTF PS NJMFT XIJDIFWFSPDDVSTGJSTU PSVQ
䞫STUVTF PS NJMFT XIJDIFWFSPDDVST䞫STU
                                                                                  UPUIF䞫STUTDIFEVMFENBJOUFOBODFSFQMBDFNFOUJOUFSWBM TVDI
                                                                                  BTCFMUT CSBLFQBETBOEMJOJOHT DMVUDIMJOJOHT 䞫MUFST XJQFSCMBEFT
08/&3s43&410/4*#*-*5*&4"/%0#-*("5*0/4
                                                                                  BOEBMMCVMCT FYDFQUIBMPHFOCVMCTXIJDIBSFDPWFSFEVQUPZFBST
  1
    SPQFSVTF NBJOUFOBODFBOEDBSFPGZPVSWFIJDMFJOBDDPSEBODF               GSPNUIFEBUFPGPSJHJOBMSFUBJMEFMJWFSZPSEBUFPG䞫STUVTF PS 
   XJUIUIFJOTUSVDUJPOTDPOUBJOFEJOUIJTIBOECPPLBOEJOUIF)ZVOEBJ           NJMFT XIJDIFWFSPDDVST䞫STU 
   0XOFSsT.BOVBM




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            4&$5*0/                             #:403        ):6/%"*/&87&)*$-&-*.*5&%8"33"/5:

             /PSNBMEFUFSJPSBUJPOPSXFBSPGBOZQBSU JODMVEJOH                              1 BSUTPSBDDFTTPSJFTVTFEJOBQQMJDBUJPOTGPSXIJDIUIFZXFSFOPU
4&$5*0/



                4QBSLQMVHT                                                                    EFTJHOFEPSOPUBQQSPWFECZ)."
                8PSOCSBLFQBETMJOJOHT                                                     8BUFSDPOUBNJOBUJPO
                8PSODMVUDIMJOJOHT                                                         4 MJHIU JSSFHVMBSJUJFT OPU SFDPHOJ[FE BT BGGFDUJOH RVBMJUZ PS
                'JMUFST                                                                        GVODUJPOPGUIFWFIJDMFPSQBSUT TVDIBTTMJHIUOPJTFPSWJCSBUJPO 
                8PSOXJQFSCMBEFT                                                              PSJUFNTDPOTJEFSFEDIBSBDUFSJTUJDPGUIFWFIJDMF
                #VMCTBOEGVTFT FYDFQUIBMPHFOCVMCTXIJDIBSFDPWFSFEVQ                 5JSFT 4FFTFQBSBUFUJSFNBOVGBDUVSFSsTXBSSBOUZ 
                   UPZFBSTGSPNUIFEBUFPGPSJHJOBMSFUBJMEFMJWFSZPSEBUFPG䞫STU       "JSCPSOFGBMMPVU JOEVTUSJBMGBMMPVU BDJESBJO TBMU USFFTBQ 
                   VTF PS NJMFT XIJDIFWFSPDDVST䞫STU                                    IBJMBOEXJOETUPSNT PSPUIFS"DUTPG(PEPSFOWJSPONFOUBM
                0UIFSXFBSBOEDPOTVNBCMFJUFNT                                                DPOEJUJPOT
             "OZWFIJDMFXIFSFUIFPEPNFUFSNJMFBHFIBTCFFOBMUFSFE                        1BJOUTDSBUDIFT EFOUT PSTJNJMBSQBJOUPSCPEZEBNBHF
             "OZWFIJDMFUIBUIBTFWFSCFFOEFDMBSFEBUPUBMMPTT TDSBQQFE PS            "DUJPOPGSPBEFMFNFOUT TBOE HSBWFM EVTUPSSPBEEFCSJT XIJDI
               JTTVFEBTBMWBHFPSTJNJMBSUJUMFPSDFSUJ䞫DBUFVOEFSBOZBQQMJDBCMF            SFTVMUJOTUPOFDIJQQJOHPGQBJOUBOEHMBTT
               MBX5IJTJODMVEFTCVUJTOPUMJNJUFEUPWFIJDMFTXIJDIBSFDVSSFOUMZ          3PEFOUT PS BOZ PUIFS EBNBHF OPU SFTVMUJOH GSPN EFGFDUT JO
               PSXFSFQSFWJPVTMZUJUMFEBTTDSBQ SFCVJMU PSEJTNBOUMFE                 NBUFSJBMTPSXPSLNBOTIJQ
             %BNBHFPSGBJMVSFSFTVMUJOHEJSFDUMZPSJOEJSFDUMZGSPNBOZPGUIF          */$*%&/5"-03$0/4&26&/5*"-%"."(&4"440$*"5&%8*5)
               GPMMPXJOH                                                                    "7&)*$-&'"*-63& */$-6%*/(8*5)065-*.*5"5*0/-0440'
                /FHMJHFODFPGQSPQFSNBJOUFOBODFBTSFRVJSFEJOUIF)ZVOEBJ              5*.&*/$0/7&/*&/$&$0450'53"/41035"5*0/5&-&1)0/&
                   0XOFSsT.BOVBM                                                            $"--4 "/% -0%(*/( -044 0' 1&340/"- 03 $0..&3$*"-
                .JTVTF BCVTF BDDJEFOU UIFGU XBUFS䞬PPEJOHPS䞫SF                      1301&35:-0440'1":033&7&/6&"/%-0440'64&0'5)&
                6TFPGJNQSPQFSPSJOTVG䞫DJFOUGVFM 䞬VJETPSMVCSJDBOUT                  7&)*$-& "3&/05$07&3&%6/%&35)*48"33"/5:
                6TFPGQBSUTPUIFSUIBO)ZVOEBJ(FOVJOF1BSUT PSQBSUTPGOPO
                   FRVJWBMFOURVBMJUZBOEEFTJHO
                "OZEFWJDFBOEPSBDDFTTPSJFTOPUTVQQMJFECZ)ZVOEBJ
                .PEJ䞫DBUJPOT BMUFSBUJPOT UBNQFSJOHPSJNQSPQFSSFQBJS




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4&$5*0/                             #:404        ):6/%"*/&87&)*$-&-*.*5&%8"33"/5:

0#5"*/*/(8"33"/5:4&37*$&




                                                                                                  4&$5*0/
8BSSBOUZTFSWJDFXJMMCFQSPWJEFECZBOBVUIPSJ[FE)ZVOEBJ%FBMFSTIJQ
XJUIPVU DIBSHF GPS QBSUT PS MBCPS 5IJT XBSSBOUZ XJMM OPU BQQMZ UP
XBSSBOUZTFSWJDFQFSGPSNFECZUIPTFPUIFSUIBOBOBVUIPSJ[FE)ZVOEBJ
%FBMFSTIJQ

5*3&*/'03."5*0/
5JSFTPSJHJOBMMZFRVJQQFEPO)ZVOEBJWFIJDMFTBSFXBSSBOUFEEJSFDUMZCZ
UIFUJSFNBOVGBDUVSFS

*OUIFFWFOUUIBUZPVOFFEBTTJTUBODFJOMPDBUJOHBOBVUIPSJ[FEUJSF
EFBMFSTIJQ QMFBTFDPOUBDUZPVSBVUIPSJ[FE)ZVOEBJ%FBMFSTIJQ PSUIF
)ZVOEBJ$VTUPNFS$BSF$FOUFS




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                                                                                 Exhibit 1
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            4&$5*0/                             #:405
                                                ):6/%"*108&353"*/-*.*5&%8"33"/5: 03*(*/"-08/&3

            8)"5*4$07&3&%                                                               8"33"/5:1&3*0%
4&$5*0/



            3FQBJS PS SFQMBDFNFOU PG QPXFSUSBJO DPNQPOFOUT MJTUFE CFMPX           'PSPSJHJOBMPXOFSTPOMZ UIJT1PXFSUSBJO-JNJUFE8BSSBOUZXJMMCFHJO
            PSJHJOBMMZ NBOVGBDUVSFE PS JOTUBMMFE CZ )ZVOEBJ .PUPS $PNQBOZ         VQPO FYQJSBUJPO PG UIF  ZFBST  NJMFT /FX 7FIJDMF -JNJUFE
            )ZVOEBJ .PUPS (SPVQ  )ZVOEBJ .PUPS .BOVGBDUVSJOH "MBCBNB               8BSSBOUZ BOEXJMMDPOUJOVFUPDPWFSUIF&OHJOFBOE5SBOTNJTTJPO
             ). ."  ,JB .PU PST . BO V G BD UV S J O H  (F PS H J B ,. .(  , J B   5SBOTBYMFQPXFSUSBJODPNQPOFOUTMJTUFEPOUIFGPMMPXJOHQBHFVQUP
            .BOVGBDUVSJOH.FYJDP ,.. PS)ZVOEBJ.PUPS"NFSJDB )." UIBU               ZFBSTGSPNUIFEBUFPGPSJHJOBMEFMJWFSZPSUIFEBUFPG䞫STUVTF PS
            BSFGPVOEUPCFEFGFDUJWFJONBUFSJBMPSGBDUPSZXPSLNBOTIJQVOEFS            NJMFT XIJDIFWFSPDDVST䞫STU5IF1PXFSUSBJO-JNJUFE8BSSBOUZ
            OPSNBMVTFBOENBJOUFOBODF FYDFQUBOZJUFNTQFDJ䞫DBMMZSFGFSSFEUP          JTOPUUSBOTGFSBCMFUPBOZTVCTFRVFOUPXOFS'PSTVCTFRVFOUPXOFST 
            JOUIFTFDUJPO8IBUJT/PU$PWFSFE5PXJOHFYQFOTFUPUIFOFBSFTU          QPXFSUSBJODPNQPOFOUTBSFDPWFSFEVOEFSUIF/FX7FIJDMF-JNJUFE
            )ZVOEBJEFBMFSTIJQPSBVUIPSJ[FETFSWJDFMPDBUJPOJTDPWFSFEXIFOUIF        8BSSBOUZGPSZFBST NJMFT XIJDIFWFSPDDVST䞫STU
            WFIJDMFJTJOPQFSBCMFEVFUPBXBSSBOUBCMFEFGFDUXJUIJOZFBSTGSPN
            UIFEBUFPGPSJHJOBMSFUBJMEFMJWFSZPSEBUFPG䞫STUVTF PS NJMFT    5IF 1PXFSUSBJO -JNJUFE 8BSSBOUZ FYDMVEFT DPWFSBHF GPS WFIJDMFT
            XIJDIFWFS PDDVST GJSTU 0XOFSsT 3FTQPOTJCJMJUJFT BOE 0CUBJOJOH      QMBDFEJODPNNFSDJBMVTF FHUBYJ SPVUFEFMJWFSZ SFOUBM FUD 
            8BSSBOUZ4FSWJDFBSFUIFTBNFBTTQFDJ䞫FEVOEFSUIF)ZVOEBJ/FX
            7FIJDMF-JNJUFE8BSSBOUZ3FQBJSTXJMMCFNBEFVTJOHOFX)ZVOEBJ             &/(*/&
            (FOVJOF1BSUTPS)ZVOEBJBVUIPSJ[FESFNBOVGBDUVSFEQBSUT
                                                                                          $ZMJOEFSCMPDLIFBEBOEBMMJOUFSOBMQBSUT NBOJGPMET UJNJOHHFBST 
                                                                                          UJNJOHDIBJO UJNJOHDPWFS HBTLFUTBOETFBMT PJMQVNQ XBUFSQVNQ 
                                                                                          GMZXIFFM PJMQBOBTTFNCMZ SPDLFSDPWFSBOEFOHJOFNPVOUT BOE
                                                                                          UVSCPDIBSHFS




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                                    ):6/%"*108&353"*/-*.*5&%8"33"/5: 03*(*/"-08/&3

53"/4.*44*0/53"/4"9-&                                                      *GUIFWFIJDMFXBT䞫STUQMBDFEJOTFSWJDFBTB)ZVOEBJ.PUPS"NFSJDB




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                                                                             )." .BOBHFS%FNPOTUSBUPS7FIJDMF PS)ZVOEBJ4FSWJDF-PBO$BS 
$BTFBOEBMMJOUFSOBMQBSUT BYMFTIBGUT GSPOUSFBS DPOTUBOUWFMPDJUZ
                                                                            UIFPSJHJOBM GJSTU SFUBJMQVSDIBTFSPGUIFWFIJDMFJTDPOTJEFSFEUIF
KPJOUT GSPOUSFBSIVCCFBSJOHT QSPQFMMFSTIBGUT TFBMTBOEHBTLFUT 
                                                                            PSJHJOBMPXOFS BOEUIFZFBST NJMFT1PXFSUSBJO-JNJUFE
UPSRVFDPOWFSUFSBOEDPOWFSUFSIPVTJOHBOEDMVUDIDPWFSBOEIPVTJOH 
                                                                            8BSSBOUZSFNBJOTJOFGGFDU UIPVHIUIFEBUFPGGJSTUVTFJTUIFEBUF
USBOTGFSDBTF BOESFBSEJGGFSFOUJBMGPS)ZVOEBJWFIJDMFT                 UIFWFIJDMFXBTQMBDFEJOTFSWJDFBTBO).".BOBHFS%FNPOTUSBUPS
                                                                            7FIJDMFPSB)ZVOEBJ4FSWJDF-PBO$BS5IJTXBSSBOUZJTOPUUSBOTGFSBCMF
8)"5*4/05$07&3&%                                                         UP BOZ TVCTFRVFOU PXOFS 4VCTFRVFOU PXOFST IBWF QPXFSUSBJO
*UFNTOPUDPWFSFECZUIJTXBSSBOUZBOEBOZFYDMVTJPOPSMJNJUBUJPOT        DPNQPOFOUTDPWFSFEVOEFSUIFZFBST NJMFT)ZVOEBJ/FX
SFMBUJOHUPUIJTXBSSBOUZBSFUIFTBNFBTUIPTFTFUGPSUIJOUIF8IBU     7FIJDMF-JNJUFE8BSSBOUZ5IFZFBST NJMFT1PXFSUSBJO
JT/PU$PWFSFETFDUJPOPGUIF)ZVOEBJ/FX7FIJDMF-JNJUFE8BSSBOUZ        -JNJUFE 8BSSBOUZ BMTP FYDMVEFT DPWFSBHF GPS WFIJDMFT QMBDFE JO
                                                                            DPNNFSDJBMVTF FHUBYJ SPVUFEFMJWFSZ SFOUBM FUD 
BMSFBEZEFTDSJCFEJOUIJTIBOECPPL

*/$*%&/5"-03$0/4&26&/5*"-%"."(&4"440$*"5&%8*5)"
7&)*$-&'"*-63& */$-6%*/(8*5)065-*.*5"5*0/-0440'5*.&
*/$0/7&/*&/$&$0450'53"/41035"5*0/5&-&1)0/&$"--4
"/%-0%(*/(-0440'1&340/"-03$0..&3$*"-1301&35:
-0440'1":033&7&/6&"/%-0440'64&0'5)&7&)*$-& "3&
/05$07&3&%6/%&35)*48"33"/5:



03*(*/"-08/&3
0SJHJOBM0XOFSJTEF䞫OFEBTUIF䞫STUSFUBJMQVSDIBTFSPGUIFWFIJDMFXIP
UPPLEFMJWFSZPGUIFWFIJDMFPOJUTEBUFPG䞫STUVTF*GUIFWFIJDMFXBT
䞫STUQMBDFEJOTFSWJDFBTBMFBTFWFIJDMF BOEUIFMFTTFFQVSDIBTFTUIF
WFIJDMFBUUIFFOEPGUIFMFBTF UIFZFBST NJMFT1PXFSUSBJO
-JNJUFE8BSSBOUZSFNBJOTJOFGGFDU
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                                                                                                                              Exhibit 1
                 Case 8:20-cv-00890-FLA-ADS Document 38-1 Filed 10/30/20 Page 33 of 59 Page ID
            4&$5*0/                             #:407 ):6/%"*"/5*1&3'03"5*0/-*.*5&%8"33"/5:
            8)"5*4$07&3&%                                                            8)"5*4/05$07&3&%
4&$5*0/



            "OZ)ZVOEBJWFIJDMFCPEZTIFFUNFUBMGPVOE VOEFSOPSNBMVTF UP           & YIBVTUTZTUFNDPNQPOFOUT
            IBWFEFWFMPQFEBQFSGPSBUJPO SVTUIPMFUISPVHIUIFCPEZQBOFM GSPN       $PSSPTJPOPGBOZQBSUPGUIFWFIJDMFPUIFSUIBOCPEZQBOFMT
            DPSSPTJPOEVFUPEFGFDUTJONBUFSJBMPSGBDUPSZXPSLNBOTIJQ                $PSSPTJPOPGCPEZQBOFMTUIBUIBWFCFFOQSFWJPVTMZSFQBJSFEPS
                                                                                          SF䞫OJTIFEGSPNUIFPSJHJOBMGBDUPSZ䞫OJTIBGUFSUIFEBUFPGSFUBJMTBMF 
                                                                                          FYDFQUGPSCPEZQBOFMTSFQBJSFEVOEFSUIJT"OUJ1FSGPSBUJPO-JNJUFE
            8"33"/5:1&3*0%
                                                                                          8BSSBOUZ
            ZFBSTVOMJNJUFENJMFBHFGSPNUIFEBUFPGPSJHJOBMSFUBJMEFMJWFSZPS     */$*%&/5"-03$0/4&26&/5*"-%"."(&4"440$*"5&%8*5)
            EBUFPG䞫STUVTF                                                             "7&)*$-&'"*-63& */$-6%*/(8*5)065-*.*5"5*0/-0440'
                                                                                          5*.&*/$0/7&/*&/$&$0450'53"/41035"5*0/5&-&1)0/&
                                                                                          $"--4 "/% -0%(*/( -044 0' 1&340/"- 03 $0..&3$*"-
            08/&3s43&410/4*#*-*5*&4"/%0#-*("5*0/4
                                                                                          1301&35:-0440'1":033&7&/6&"/%-0440'64&0'5)&
            :PVSSFTQPOTJCJMJUJFTBSFUIFTBNFBTUIPTFEFTDSJCFEJOUIF)ZVOEBJ         7&)*$-& "3&/05$07&3&%6/%&35)*48"33"/5:
            /FX7FIJDMF-JNJUFE8BSSBOUZXJUIUIFFYDFQUJPOPGPOFBEEJUJPOBM          $ PSSPTJPO PG BOZ CPEZ QBOFM SFQMBDFE BGUFS UIF EBUF PG SFUBJM
            SFRVJSFNFOU                                                                  TBMF FYDFQUQBOFMTSFQMBDFEVOEFSUIJT"OUJ1FSGPSBUJPO-JNJUFE
              3FUBJOBOZCPEZSFQBJSSFDPSET*UNBZCFOFDFTTBSZGPSZPVUPTIPX      8BSSBOUZ
                UIBUUIFSFRVJSFEBOUJDPSSPTJPONBUFSJBMIBTCFFOBQQMJFEUPBOZ      $PSSPTJPOPUIFSUIBOQFSGPSBUJPO$PTNFUJDPSTVSGBDFDPSSPTJPO
               QSFWJPVTMZSFQMBDFEPSSFQBJSFECPEZDPNQPOFOUT                           EVFUPEFGFDUTJONBUFSJBMPSGBDUPSZXPSLNBOTIJQJTDPWFSFEVOEFS
                                                                                          1BJOU$PWFSBHFGPSNPOUITPS NJMFT XIJDIFWFSPDDVST
                                                                                          䞫STU
                                                                                        $PSSPTJPOPGUIFFYUFSJPSTVSGBDFPGUIFVOEFSCPEZQBOFMTTVDIBT
                                                                                          䞬PPSQBO




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4&$5*0/                             #:408 ):6/%"*"/5*1&3'03"5*0/-*.*5&%8"33"/5:
  $ PSSPTJPOSFTVMUJOHGSPNNJTVTF BDDJEFOUPS䞫SF TUPOFDIJQQJOH 




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    BJSCPSOFGBMMPVU JOEVTUSJBMBOEPSDIFNJDBMGBMMPVU BDJESBJO USFF
    TBQ IBJM XJOETUPSN 䞬PPE PSPUIFS"DUTPG(PE
  $PSSPTJPODBVTFECZMBDLPGQSPQFSNBJOUFOBODF NJTVTF PSBCVTF
  .BUDIJOHPGQBJOU1BJOUJOHPGUIFFOUJSFWFIJDMFGPSNBUDIJOHPG
    QBJOUJTOPUDPWFSFE1BJOUJOHPGUIFSFQMBDFEPSSFQBJSFEQBOFMUP
    NBUDIUIFWFIJDMFsTPSJHJOBMGJOJTIJTUPCFEFDJEFECZ)."POB
   DBTFCZDBTFCBTJT
  5 IF EVSBUJPO PG BOZ JNQMJFE XBSSBOUJFT  JODMVEJOH UIPTF PG
   .&3$)"/5"#*-*5:BOE'*5/&44'03"1"35*$6-"3163104& 
   SFHBSEJOHQFSGPSBUJPOEFGFDUTBSFMJNJUFEUPUIFEVSBUJPOPGUIJT
   MJNJUFEXBSSBOUZ

4PNFTUBUFTEPOPUBMMPXMJNJUBUJPOTPOIPXMPOHBOJNQMJFEXBSSBOUZ
MBTUT  PS UIF FYDMVTJPO PS MJNJUBUJPO PG JODJEFOUBM PS DPOTFRVFOUJBM
EBNBHFT  TP UIF MJNJUBUJPOT PS FYDMVTJPOT TFU GPSUI SFHBSEJOH UIJT
MJNJUFEXBSSBOUZNBZOPUBQQMZUPZPV




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            4&$5*0/                             #:409            '&%&3"-&.*44*0/%&'&$58"33"/5:

            '&%&3"-&.*44*0/$0/530-8"33"/5:45"5&.&/5                                  */$*%&/5"-03$0/4&26&/5*"-%"."(&4"440$*"5&%8*5)"
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                                                                                         7&)*$-&'"*-63& */$-6%*/(8*5)065-*.*5"5*0/-0440'5*.&
            *OBDDPSEBODFXJUIUIF'FEFSBM$MFBO"JS"DU BTBNFOEFE )ZVOEBJ
                                                                                         */$0/7&/*&/$&$0450'53"/41035"5*0/5&-&1)0/&$"--4
            .PUPS"NFSJDB )." XBSSBOUTUPUIFPSJHJOBMBOEFBDITVCTFRVFOU
                                                                                         "/%-0%(*/(-0440'1&340/"-03$0..&3$*"-1301&35:
            PXOFSPGFBDIOFX)ZVOEBJWFIJDMFUIBUUIFWFIJDMF  XBT
                                                                                         -0440'1":033&7&/6&"/%-0440'64&0'5)&7&)*$-& "3&
            EFTJHOFE  CVJMU BOE FRVJQQFE UP DPOGPSN BU UIF UJNF PG TBMF UP
            BQQMJDBCMFGFEFSBMSFHVMBUJPOTBOE  JTGSFFGSPNEFGFDUTJONBUFSJBM     /05$07&3&%6/%&35)*48"33"/5:
            BOEXPSLNBOTIJQBUUIFUJNFPGTBMFXIJDIXPVMEDBVTFUIFWFIJDMF
            UPGBJMUPDPOGPSNXJUITVDISFHVMBUJPOTGPSBQFSJPEPGZFBSTGSPN       8"33"/5:+63*4%*$5*0/
            UIFEBUFPGPSJHJOBMSFUBJMEFMJWFSZPSEBUFPG䞫STUVTFPS NJMFT    5IJT XBSSBOUZ BQQMJFT UP WFIJDMFT NBOVGBDUVSFE UP FJUIFS  'FEFSBM
            XIJDIFWFSPDDVST䞫STU PSVQUP䞫STUSFRVJSFETDIFEVMFENBJOUFOBODF         TQFDJGJDBUJPOTPS$BMJGPSOJBTQFDJGJDBUJPOTXIJDIBSFEJTUSJCVUFECZ
            XIJDIFWFSPDDVSTGJSTU"EEJUJPOBMMZ DFSUBJONBKPSFNJTTJPOTDPOUSPM       )ZVOEBJ.PUPS"NFSJDBBOESFHJTUFSFEBOEOPSNBMMZPQFSBUFEJOUIF
            DPNQPOFOUTMJTUFEVOEFSUIFGPMMPXJOH:FBST .JMFT'FEFSBM
                                                                                         6OJUFE4UBUFTBOE8BTIJOHUPO %$ UIFDPNNPOXFBMUIPG1VFSUP
            &NJTTJPO8BSSBOUZ1BSUT-JTUXJMMCFDPWFSFEGPSBQFSJPEPGZFBST
                                                                                         3JDP UIF7JSHJO*TMBOET (VBN BOE"NFSJDBO4BNPB BOEJODMVEFTUIF
            GSPNUIFEBUFPGPSJHJOBMSFUBJMEFMJWFSZPSEBUFPG䞫STUVTF PS 
                                                                                         DPNNPOXFBMUIPGUIF/PSUIFSO.BSJBOB*TMBOET
            NJMFT XIJDIFWFSPDDVSTGJSTU"OZQBSUPGUIJTWFIJDMFDPWFSFEVOEFS
            UIJTXBSSBOUZXIJDIQSPWFTUPCFEFGFDUJWFXJMMCFSFQBJSFEPSSFQMBDFE
                                                                                         */$*%&/5"-03$0/4&26&/5*"-%"."(&4"440$*"5&%8*5)"
            CZBOBVUIPSJ[FE)ZVOEBJEFBMFSTIJQVTJOHOFXPSSFNBOVGBDUVSFE
            )ZVOEBJ(FOVJOF1BSUT5IJTXBSSBOUZDPWFSBHFBQQMJFTUPUIFWFIJDMF        7&)*$-&'"*-63& */$-6%*/(8*5)065-*.*5"5*0/-0440'5*.&
            SFHBSEMFTTPGBDIBOHFJOPXOFSTIJQBOEJTUSBOTGFSBCMFUPTVCTFRVFOU       */$0/7&/*&/$&$0450'53"/41035"5*0/5&-&1)0/&$"--4
            PXOFST'BJMVSFT PUIFSUIBOUIPTFSFTVMUJOHGSPNEFGFDUTJONBUFSJBMPS    "/%-0%(*/(-0440'1&340/"-03$0..&3$*"-1301&35:
            XPSLNBOTIJQ XIJDIBSJTFTPMFMZBTBSFTVMUPGPXOFSBCVTFBOEPSMBDL      -0440'1":033&7&/6&"/%-0440'64&0'5)&7&)*$-& "3&
            PGQSPQFSNBJOUFOBODF BSFOPUDPWFSFECZUIFXBSSBOUZ                     /05$07&3&%6/%&35)*48"33"/5:




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8)"5*4$07&3&%




                                                                                            4&$5*0/
5IF QSJNBSZ DPNQPOFOUT DPWFSFE BSF MJTUFE PO UIF GPMMPXJOH 
:FBST  .JMFT 'FEFSBM &NJTTJPO 8BSSBOUZ 1BSUT -JTU BOE 
:FBST .JMFT'FEFSBM&NJTTJPO8BSSBOUZ1BSUT-JTU

4PNFJUFNTSFRVJSFTDIFEVMFESFQMBDFNFOUBTQBSUPGUIFTDIFEVMFE
NBJOUFOBODFPGUIFWFIJDMFT3FQMBDFNFOUPGUIFTFJUFNTJTXBSSBOUFE
JOOPSNBMTFSWJDFVQUPUIFGJSTUSFQMBDFNFOUJOUFSWBMPSVQUPUIF
MJNJUTPGUIFBQQMJDBCMFFNJTTJPOXBSSBOUZDPWFSBHFQFSJPE XIJDIFWFS
PDDVST䞫STU 3FGFSUPUIF)ZVOEBJ0XOFST.BOVBMBOEJUT4DIFEVMFE
.BJOUFOBODF4FDUJPO 




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                                                                           Exhibit 1
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            4&$5*0/                             #:411      '&%&3"-&.*44*0/1&3'03."/$&8"33"/5:

            8"33"/5:+63*4%*$5*0/                                                        5 IF WFIJDMF GBJMT UP DPOGPSN EVSJOH UIF XBSSBOUZ QFSJPE UP UIF
4&$5*0/



                                                                                             BQQMJDBCMFFNJTTJPOTUBOEBSETBTEFUFSNJOFECZBOFNJTTJPOTUFTU
            5IJT XBSSBOUZ BQQMJFT UP WFIJDMFT NBOVGBDUVSFE UP FJUIFS 'FEFSBM
                                                                                             BQQSPWFECZUIF&OWJSPONFOUBM1SPUFDUJPO"HFODZ &1" 
            TQFDJGJDBUJPOTPS$BMJGPSOJBTQFDJGJDBUJPOTXIJDIBSFEJTUSJCVUFECZ
                                                                                         5IFGBJMVSFUPDPOGPSNSFTVMUT PSXJMMSFTVMU JOUIFPXOFSPGUIF
            )ZVOEBJ.PUPS"NFSJDBBOESFHJTUFSFEBOEOPSNBMMZPQFSBUFEJOUIF
                                                                                             WFIJDMFIBWJOHUPCFBSBQFOBMUZPSPUIFSTBODUJPOT TVDIBTEFOJBM
            6OJUFE4UBUFTBOE8BTIJOHUPO %$ UIFDPNNPOXFBMUIPG1VFSUP
                                                                                             PGUIFSJHIUUPPQFSBUFPSVTFUIFWFIJDMFPSB䞫OFVOEFSMPDBM TUBUF
            3JDP UIF7JSHJO*TMBOET (VBN BOE"NFSJDBO4BNPB BOEJODMVEFTUIF
                                                                                             PSGFEFSBMMBX
            DPNNPOXFBMUIPGUIF/PSUIFSO.BSJBOB*TMBOET

                                                                                        *G BMM PG UIF BCPWF DPOEJUJPOT BSF NFU  )." XBSSBOUT UIBU BOZ
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            JOTQFDUJPO BOE NBJOUFOBODF *.  QSPHSBNT UP FODPVSBHF QSPQFS
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            &OWJSPONFOUBM1SPUFDUJPO"HFODZ &1" BQQSPWBM ZPVNBZCFFMJHJCMFGPS
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                UIFTDIFEVMFENBJOUFOBODFJOTUSVDUJPOTEFTDSJCFEJOUIF)ZVOEBJ
                0XOFSsT.BOVBMQSPWJEFEXJUIZPVSWFIJDMF



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EFMJWFSZPSJGUIFWFIJDMFJT䞫STUQMBDFEJOTFSWJDFBTBEFNPOTUSBUPS          UPUIFGJSTUSFQMBDFNFOUJOUFSWBMPSVQUPUIFMJNJUTPGUIFBQQMJDBCMF
PS$PNQBOZDBSQSJPSUPEFMJWFSZ POUIFEBUFJUJTGJSTUQMBDFEJO             FNJTTJPOXBSSBOUZDPWFSBHFQFSJPE XIJDIFWFSPDDVSTGJSTU 3FGFSUP
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DFSUBJONBKPSFNJTTJPODPOUSPMDPNQPOFOUTMJTUFEVOEFSUIFGPMMPXJOH              XBSSBOUJFT'PSNPSFEFUBJMTBCPVUUIFTQFDJ䞫DQBSUTUIBUBSFDPWFSFE
:FBST .JMFT'FEFSBM&NJTTJPO8BSSBOUZ1BSUT-JTUXJMMCF               CZUIF'FEFSBM&NJTTJPO%FGFDU8BSSBOUZ DPOUBDUZPVSEFBMFSTIJQ
DPWFSFEGPSBQFSJPEPGZFBSTGSPNUIFEBUFPGPSJHJOBMSFUBJMEFMJWFSZ         *GGBJMVSFPGPOFPGUIFGPMMPXJOHDPNQPOFOUTSFTVMUTJOGBJMVSFPGBOZ
PS EBUF PG GJSTU VTF  PS   NJMFT  XIJDIFWFS PDDVST GJSTU 5IJT    PUIFSWFIJDMFQBSU CPUIQBSUTXJMMCFDPWFSFECZUIF'FEFSBM&NJTTJPO
XBSSBOUZDPWFSBHFBQQMJFTUPUIFWFIJDMFSFHBSEMFTTPGBDIBOHFJO                1FSGPSNBODF8BSSBOUZ
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BTTFNCMZ  UIF DBUBMZUJD DPOWFSUFST  UIF FMFDUSPOJD FOHJOF DPOUSPM          DPNQPOFOUTXJMMCFDPWFSFEVQUPZFBSTGSPNUIFEBUFPGPSJHJOBM
NPEVMF BOEUIFPOCPBSEFNJTTJPOTEJBHOPTUJDEFWJDF                               EFMJWFSZPSEBUFPG䞫STUVTF PS NJMFT XIJDIFWFSPDDVST䞫STU

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GPSBMMFNJTTJPOSFMBUFEDPNQPOFOUTBOEQSPWJEFTZFBSTPS                    &OHJOF$POUSPM.PEVMF JODMVEFT0OCPBSE&NJTTJPO%JBHOPTUJD
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                                                                                      &YIBVTU.BOJGPME$BUBMZUJD"TTFNCMZ



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                *OUBLF.BOJGPME                                                                      *OUBLF7BMWF
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                5VSCPDIBSHFS"TTFNCMZ                                                                *OUBLF$BNTIBGU"TTFNCMZ
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                &)34"TTFNCMZ                                                                     "VUP5SBOTNJTTJPO4ZTUFN
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            'VFM.FUFSJOH4ZTUFN                                                                       "VUP5SBOTNJTTJPO'MVJE8BSNFS
                $PPMBOU5FNQFSBUVSF4FOTPS                                                        &WBQPSBUJWF$POUSPM4ZTUFN
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                'VFM*OKFDUPST                                                                       $BOJTUFS$MPTF7BMWF
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                5ISPUUMF#PEZ                                                                        'VFM'JMMFS$BQ
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                'VFM1SFTTVSF3FHVMBUPS                                                              8BSNFS8BUFS7BMWF
            *HOJUJPO4ZTUFN                                                                         $IBSHJOH4ZTUFN
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            1PTJUJWF$SBOLDBTF7FOUJMBUJPO4ZTUFN                                                      .BMGVODUJPO*OEJDBUPS-JHIUBOE#VMC
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            4QBSLQMVHTTIBMMCFXBSSBOUFEGPSUIFFNJTTJPOTXBSSBOUZQFSJPE PSUIF䞫STUTDIFEVMFESFQMBDFNFOUUJNFPSNJMFBHF XIJDIFWFSPDDVST䞫STU
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                                                                              SFHBSEJOHFNJTTJPOTZTUFNTEFGFDUTBSFMJNJUFEUPUIFEVSBUJPOPGUIFTF
    JNQSPQFS BEKVTUNFOU  BMUFSBUJPO  UBNQFSJOH  EJTDPOOFDUJPO 
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    JNQSPQFSPSJOBEFRVBUFNBJOUFOBODF PSVTFPGMFBEFEHBTPMJOFPS
                                                                              IPXMPOHBOJNQMJFEXBSSBOUZMBTUT PSUIFFYDMVTJPOPSMJNJUBUJPOPG
    DPOUBNJOBUFEGVFM
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 %BNBHFSFTVMUJOHGSPNBOBDDJEFOUPSBO"DUPG(PE
                                                                              TFUGPSUISFHBSEJOHUIFTFXBSSBOUJFTNBZOPUBQQMZUPZPV
 "OZWFIJDMFPOXIJDIUIFPEPNFUFSSFBEJOHIBTCFFOBMUFSFETPUIBU
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 'BJMVSFTUIBUBSFBEJSFDUSFTVMUPGBMBDLPGQFSGPSNBODFPGSFRVJSFE   08/&3s43&410/4*#*-*5:"/%0#-*("5*0/
    FNJTTJPODPOUSPMNBJOUFOBODFBTPVUMJOFEJOUIF)ZVOEBJ0XOFSsT          *UJTUIFPXOFSsTPCMJHBUJPOUPQSPQFSMZNBJOUBJOBOEVTFUIFWFIJDMFJO
    .BOVBM                                                                   BDDPSEBODFXJUI)ZVOEBJsTXSJUUFOJOTUSVDUJPOTJOUIF)ZVOEBJ0XOFSsT
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    EFTJHOFEPSOPUBQQSPWFECZ)."                                          OPUDPWFSFECZUIFXBSSBOUZ5PIFMQSFTPMWFRVFTUJPOTBTUPXIFUIFS
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    CZVTJOHOPO)ZVOEBJQBSUT OPO&1"DFSUJ䞫FESFQMBDFNFOUQBSUTJO        SFUBJOBMMNBJOUFOBODFTFSWJDFSFDPSETBOESFDFJQUTJOEJDBUJOHUIBU
    UIFNBJOUFOBODFPSSFQBJSPGUIFWFIJDMFXIJDIVMUJNBUFMZQSPWFUP       TFSWJDFIBTCFFOQFSGPSNFEPOUIFWFIJDMF
    CFEFGFDUJWFJONBUFSJBMPSXPSLNBOTIJQ PSOPUFRVJWBMFOUGSPNBO
    FNJTTJPODPOUSPMTUBOEQPJOUUPUIFPSJHJOBMFRVJQNFOUQBSU




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            64&0'"/:1"35*$6-"3#3"/%0'3&1-"$&.&/51"3545)&                     )08&7&3  8"33"/5: 4&37*$& .645 #& 1&3'03.&% #: "/
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            5)&&.*44*0/$0/530-4:45&.                                               EFOJFEEVFUPUIFGBJMVSFPGBQSPQFSMZJOTUBMMFEDFSUJ䞫FEOPO)ZVOEBJ
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            *G PUIFS UIBO )ZVOEBJ (FOVJOF 1BSUT BSF VTFE GPS NBJOUFOBODF
            SFQMBDFNFOUT PS GPS UIF SFQBJS PG DPNQPOFOUT BGGFDUJOH FNJTTJPO   $MBJNTNBZCFEFOJFEPOUIFCBTJTPGBOVODFSUJ䞫FESFQMBDFNFOUQBSU
            DPOUSPM UIFPXOFSTIPVMEEFUFSNJOFUIBUTVDIQBSUTBSFXBSSBOUFE         VTFEJOUIFNBJOUFOBODFPSSFQBJSPGBWFIJDMFJG)ZVOEBJQSFTFOUT
            CZUIFJSNBOVGBDUVSFSUPCFFRVJWBMFOUUP)ZVOEBJ(FOVJOF1BSUTJO        FWJEFODFUIBUUIFVODFSUJGJFESFQMBDFNFOUQBSUJTFJUIFSEFGFDUJWF
            QFSGPSNBODFBOEEVSBCJMJUZ                                                JO NBUFSJBMT PS XPSLNBOTIJQ PS OPU FRVJWBMFOU GSPN BO FNJTTJPO
                                                                                       TUBOEQPJOUUPUIFPSJHJOBMFRVJQNFOUQBSUBOEUIFWFIJDMFPXOFSJT
            /FX PS 3FNBOVGBDUVSFE )ZVOEBJ (FOVJOF 1BSUT XIFO VTFE JO        VOBCMFUPSFCVUUIFFWJEFODF
            DPOOFDUJPO XJUI )ZVOEBJ WFIJDMFT  NFBOT QBSUT NBOVGBDUVSFE CZ
            PSBQQSPWFECZ)ZVOEBJ EFTJHOFEGPSVTFPO)ZVOEBJWFIJDMFTBOE
            EJTUSJCVUFECZ)."




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4&$5*0/                             #:416      '&%&3"-&.*44*0/1&3'03."/$&8"33"/5:

3FDFJQUTDPWFSJOHUIFQFSGPSNBODFPGNBJOUFOBODFTFSWJDFTIPVME          $-"*.4130$&%63&




                                                                                                                                                       4&$5*0/
CFSFUBJOFEJOUIFFWFOURVFTUJPOTBSJTFDPODFSOJOHNBJOUFOBODF
                                                                          5PPCUBJOXBSSBOUZTFSWJDFVOEFSUIFTFXBSSBOUJFT UIFPXOFSTIPVME
5IFTFSFDFJQUTTIPVMECFUSBOTGFSSFEUPFBDITVCTFRVFOUPXOFSPG
                                                                          SFUVSO UIF WFIJDMF UP BO BVUIPSJ[FE )ZVOEBJ EFBMFSTIJQ QMBDF PG
UIJTWFIJDMF)."SFTFSWFTUIFSJHIUUPEFOZXBSSBOUZDPWFSBHFJGUIF
                                                                          CVTJOFTTEVSJOHJUTOPSNBMTFSWJDFCVTJOFTTIPVST XIFSFTVDITFSWJDF
WFIJDMFIBTOPUCFFOQSPQFSMZNBJOUBJOFE)PXFWFS EFOJBMXJMMOPUCF
                                                                          XJMMCFQFSGPSNFEBUOPDIBSHFGPSQBSUT MBCPS EJBHOPTJTBOEUBY
CBTFETPMFMZPOUIFBCTFODFPGNBJOUFOBODFSFDPSET
                                                                          *G BO PXOFSsT XBSSBOUZ DMBJN VOEFS UIF  'FEFSBM &NJTTJPO
5IFTF XBSSBOUJFT BQQMZ POMZ UP WFIJDMFT NBOVGBDUVSFE UP 6OJUFE
                                                                          1FSGPSNBODF8BSSBOUZJTEFOJFE )."XJMMQSPWJEFUIFPXOFSXJUI
4UBUFTTQFDJ䞫DBUJPOTXIJDIBSFEJTUSJCVUFECZ)ZVOEBJ.PUPS"NFSJDB
                                                                          BXSJUUFOFYQMBOBUJPOPGXIZUIFDMBJNXBTEFOJFE XJUIJOEBZT
BOESFHJTUFSFEBOEOPSNBMMZPQFSBUFEJOUIF6OJUFE4UBUFTBOE
                                                                          GSPNUIFUJNFZPVCSJOHUIFDBSUPB)ZVOEBJEFBMFSTIJQ PS XJUIJO
8BTIJOHUPO %$ UIFDPNNPOXFBMUIPG1VFSUP3JDP UIF7JSHJO*TMBOET 
                                                                          UIFUJNFSFRVJSFECZMPDBM TUBUF PSGFEFSBMMBXGPSUIFWFIJDMFUPCF
(VBN BOE"NFSJDBO4BNPB BOEJODMVEFTUIFDPNNPOXFBMUIPGUIF
                                                                          SFQBJSFEXJUIPVUJODVSSJOHGVSUIFSQFOBMUZ XIJDIFWFSJTTIPSUFS
/PSUIFSO.BSJBOB*TMBOET7FIJDMFTNBOVGBDUVSFEUPPUIFSUIBO6OJUFE
4UBUFTTQFDJGJDBUJPOT EJTUSJCVUFECZPUIFSUIBO)."BOESFHJTUFSFE
                                                                          'BJMVSF UP QSPWJEF BO FYQMBOBUJPO XJUIJO UIF EBZ QFSJPE TIBMM
BOEOPSNBMMZPQFSBUFEPVUTJEFUIF6OJUFE4UBUFTBOE8BTIJOHUPO 
                                                                          PCMJHBUF)."UPSFNFEZUIFOPODPOGPSNJUZVOEFSUIF'FEFSBM&NJTTJPO
%$ UIFDPNNPOXFBMUIPG1VFSUP3JDP UIF7JSHJO*TMBOET (VBN 
                                                                          1FSGPSNBODF8BSSBOUZFYDFQU
BOE"NFSJDBO4BNPB PSUIF$PNNPOXFBMUIPGUIF/PSUIFSO.BSJBOB
*TMBOETBSFFOUJUMFEUPTFSWJDFPGUIFFNJTTJPODPOUSPMTZTUFNTPOUIF
                                                                          P 8IFOEFMBZJTSFRVFTUFECZUIFWFIJDMFPXOFS
CBTJTPGUIFXBSSBOUZBQQMJDBCMFUPTVDIPUIFSEJTUSJCVUJPODPVOUSZ
                                                                          P 8IFOEFMBZJTDBVTFECZGBDUPSTCFZPOEUIFDPOUSPMPG)."PS
                                                                              BVUIPSJ[FE)ZVOEBJ%FBMFSTIJQ




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            *GZPVS)ZVOEBJ%FBMFSTIJQDBOOPUSFQBJSZPVSWFIJDMFPSQSPDFTTZPVS
4&$5*0/



            DMBJNXJUIJOBSFBTPOBCMFUJNF QMFBTFDPOUBDUZPVS)ZVOEBJ$VTUPNFS
            $BSF$FOUFSGPSBTTJTUBODFPG䞫DFGPSBTTJTUBODF

            ):6/%"*.0503".&3*$"
            )ZVOEBJ$VTUPNFS$BSF$FOUFS
            10#PY
            'PVOUBJO7BMMFZ $"
            
            $POTVNFSBGGBJST!INBVTBDPN



            'VSUIFSJOGPSNBUJPODBOCFPCUBJOFEGSPNBOEDPNQMBJOUTSFHJTUFSFE
            XJUI

            64&OWJSPONFOUBM1SPUFDUJPO"HFODZ
            0G䞫DFPG5SBOTQPSUBUJPOBOE"JS2VBMJUZ
            $PNQMJBODF%JWJTJPO -JHIU%VUZ7FIJDMF%JWJTJPO
            "UUO8BSSBOUZ$PNQMBJOUT
            5SBWFSTXPPE%SJWF
            "OO"SCPS .*
            &NBJMDPNQMJBODFJOGP!FQBHPW




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4&$5*0/                            #:418$"-*'03/*"&.*44*0/$0/530-4:45&.48"33"/5:

$"-*'03/*"&.*44*0/$0/530-8"33"/5:45"5&.&/5                             ."/6'"$563&3s48"33"/5:$07&3"(&




                                                                                                                                                            4&$5*0/
                                                                            'PSZFBSTPS NJMFT XIJDIFWFSPDDVST䞫STU 
:0638"33"/5:3*()54"/%0#-*("5*0/4                                             * G ZPVS )ZVOEBJ WFIJDMF GBJMT B 4NPH $IFDL JOTQFDUJPO  BMM
                                                                                    OFDFTTBSZEJBHOPTJT SFQBJSTBOEBEKVTUNFOUTXJMMCFNBEFCZ
5IF$BMJGPSOJB"JS3FTPVSDFT#PBSEBOE)ZVOEBJ.PUPS"NFSJDB )." 
                                                                                    )."UPFOTVSFUIBUZPVSWFIJDMFQBTTFTUIFJOTQFDUJPO5IJT
BSFQMFBTFEUPFYQMBJOUIF$BMJGPSOJB&NJTTJPO$POUSPM4ZTUFN8BSSBOUZ
                                                                                    JT ZPVS $BMJGPSOJB &NJTTJPO $POUSPM 4ZTUFN 1&3'03."/$&
POZPVS)ZVOEBJWFIJDMFDFSUJ䞫FEGPSTBMFJO$BMJGPSOJB
                                                                                    8"33"/5:
                                                                                 *GBOZFNJTTJPOSFMBUFEQBSUPOZPVSWFIJDMFJTEFGFDUJWF UIF
*O$BMJGPSOJB OFXNPUPSWFIJDMFTNVTUCFEFTJHOFE CVJMUBOEFRVJQQFE
                                                                                    QBSUXJMMCFSFQBJSFEPSSFQMBDFECZ)."5IJTJTZPVSTIPSUUFSN
UPNFFUUIF4UBUFsTTUSJOHFOUBOUJTNPHTUBOEBSET)."NVTUXBSSBOU
                                                                                    $BMJGPSOJB&NJTTJPO$POUSPM4ZTUFN%&'&$58"33"/5:
UIFFNJTTJPODPOUSPMTZTUFNPOZPVS)ZVOEBJWFIJDMFGPSUIFQFSJPET
                                                                            -POHUFSN$BMJGPSOJB&NJTTJPO$POUSPM4ZTUFN%&'&$58"33"/5:
PGUJNFMJTUFECFMPX QSPWJEFEUIFSFIBTCFFOOPBCVTF OFHMFDUPS
                                                                                *GBOFNJTTJPOSFMBUFEQBSUMJTUFEJOUIJT0XOFST)BOECPPLPOUIF
JNQSPQFSNBJOUFOBODFPGZPVS)ZVOEBJWFIJDMF
                                                                                8BSSBOUZ1BSUT-JTUTQFDJ䞫DBMMZOPUFEXJUIDPWFSBHFGPSZFBSTPS
                                                                                 NJMFTPSZFBSTPS NJMFTJTEFGFDUJWF UIFQBSUXJMM
:PVSFNJTTJPODPOUSPMTZTUFNJODMVEFTQBSUTTVDIBTUIFGVFMJOKFDUJPO
                                                                                CFSFQBJSFEPSSFQMBDFECZ)."5IJTJTZPVSMPOHUFSN$BMJGPSOJB
TZTUFN JHOJUJPOTZTUFN DBUBMZUJDDPOWFSUFS BOEFOHJOFDPNQVUFS"MTP
                                                                                &NJTTJPO$POUSPM4ZTUFN%&'&$58"33"/5:
JODMVEFENBZCFIPTFT CFMUT DPOOFDUPSTBOEPUIFSFNJTTJPOSFMBUFE
                                                                                P 4QFDJ䞫DFNJTTJPODPNQPOFOUTBSFDPWFSFEGPSZFBSTPS 
BTTFNCMJFT8IFSFBXBSSBOUBCMFDPOEJUJPOFYJTUT )."XJMMSFQBJSZPVS
                                                                                    NJMFT XIJDIFWFSPDDVST䞫STU TFF1BHF /05&
)ZVOEBJWFIJDMFBUOPDPTUUPZPVJODMVEJOHEJBHOPTJT QBSUTBOEMBCPS
                                                                                P 4QFDJ䞫DFNJTTJPODPNQPOFOUTBSFDPWFSFEGPSZFBSTPS 
                                                                                    NJMFT XIJDIFWFSPDDVST䞫STU TFF1BHF /05&




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             4&$5*0/                            #:419$"-*'03/*"&.*44*0/$0/530-4:45&.48"33"/5:

              '
                  PS  &MBOUSB BOE  4POBUB DFSUJGJFE BT B TVQFS VMUSB   *G ZPV IBWF BOZ RVFTUJPOT SFHBSEJOH ZPVS XBSSBOUZ SJHIUT BOE
4&$5*0/



                 MPX FNJTTJPO WFIJDMF 46-&7  BMM QBSUT DPWFSFE VOEFS UIF          SFTQPOTJCJMJUJFT ZPVTIPVMEDPOUBDUUIF)ZVOEBJ$VTUPNFS$BSF$FOUFS
                 1&3'03."/$&8"33"/5:BOEUIF%&'&$58"33"/5: XIJDI                      BU  PS UIF $BMJGPSOJB "JS 3FTPVSDFT #PBSE BU 
                 BSFMJTUFEJOUIJT0XOFST)BOECPPLPOUIF&NJTTJPO8BSSBOUZ1BSUT       5FMTUBS"WFOVF &M.POUF$"
                 -JTU BSFXBSSBOUFEGPSZFBSTPS XIJDIFWFSPDDVST䞫STU GPS
                 UIFTUBUFTMJTUFEVOEFSUIF8BSSBOUZ+VSJTEJDUJPO POQBHF 4FF       */$*%&/5"-03$0/4&26&/5*"-%"."(&4"440$*"5&%8*5)"
                 QBHF /05&                                                           7&)*$-&'"*-63& */$-6%*/(8*5)065-*.*5"5*0/-0440'5*.&
                                                                                           */$0/7&/*&/$&$0450'53"/41035"5*0/5&-&1)0/&$"--4
             08/&3s48"33"/5:3&410/4*#*-*5*&4                                             "/%-0%(*/(-0440'1&340/"-03$0..&3$*"-1301&35:
                                                                                           -0440'1":033&7&/6&"/%-0440'64&0'5)&7&)*$-& "3&
             "TUIF)ZVOEBJWFIJDMFPXOFS ZPVBSFSFTQPOTJCMFGPSUIFQFSGPSNBODF        /05$07&3&%6/%&35)*48"33"/5:
             PGUIFSFRVJSFENBJOUFOBODFMJTUFEJOUIF)ZVOEBJ0XOFSsT.BOVBM
             )."SFDPNNFOETUIBUZPVSFUBJOBMMSFDFJQUTDPWFSJOHNBJOUFOBODF             4QFDJGJDFNJTTJPOQBSUTBSFDPWFSFEVQUPZFBSTPS NJMFT 
             POZPVS)ZVOEBJWFIJDMF CVU)."DBOOPUEFOZFNJTTJPOXBSSBOUZ               XIJDIFWFS PDDVST GJSTU  PS VQ UP UIF GJSTU SFRVJSFE TDIFEVMFE
             DPWFSBHFTPMFMZGPSUIFMBDLPGSFDFJQUTPSGPSZPVSGBJMVSFUPFOTVSFUIF   NBJOUFOBODF XIJDIFWFSPDDVST䞫STU
             QFSGPSNBODFPGBMMTDIFEVMFENBJOUFOBODF

             :PVBSFSFTQPOTJCMFGPSQSFTFOUJOHZPVS)ZVOEBJWFIJDMFUPB)ZVOEBJ
             EFBMFSTIJQBTTPPOBTBQSPCMFNFYJTUT5IFXBSSBOUZSFQBJSTTIPVMECF
             DPNQMFUFEJOBSFBTPOBCMFBNPVOUPGUJNF

             "TUIF)ZVOEBJWFIJDMFPXOFS ZPVTIPVMEBMTPCFBXBSFUIBU)."
             NBZEFOZZPVSXBSSBOUZDPWFSBHFJGZPVS)ZVOEBJWFIJDMFPSBQBSUIBT
             GBJMFEEVFUPBCVTF OFHMFDU JNQSPQFSNBJOUFOBODFPSVOBQQSPWFE
             NPEJ䞫DBUJPOT




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4&$5*0/                            #:420$"-*'03/*"&.*44*0/$0/530-4:45&.48"33"/5:

8"33"/5:+63*4%*$5*0/                                                       41&$*"-/05&"DDPSEJOHUP'FEFSBM3FHVMBUJPOT ZPVSWFIJDMFNBZ




                                                                                                                                                      4&$5*0/
                                                                            BMTPCFFMJHJCMFGPSBEEJUJPOBMXBSSBOUZDPWFSBHFVOEFSUIF'FEFSBM
5IJTXBSSBOUZBQQMJFTFYDMVTJWFMZUPWFIJDMFTNBOVGBDUVSFEUP$BMJGPSOJB
                                                                            &NJTTJPO8BSSBOUZ$BMJGPSOJBSFRVJSFTNJOJNVNFNJTTJPOXBSSBOUZ
TQFDJGJDBUJPOTXIJDIBSFEJTUSJCVUFECZ)ZVOEBJ.PUPS"NFSJDBBOE
NVTUCFTPME SFHJTUFSFEBOEPQFSBUFEJOUIFTUBUFTPG$BMJGPSOJB         DPWFSBHFPGUIFGJSTUZFBSTPS NJMFTPGWFIJDMFVTF XJUI
$POOFDUJDVU  %FMBXBSF  .BJOF  .BSZMBOE  .BTTBDIVTFUUT  /FX            DPWFSBHFGPSUIF䞫STUZFBSTPS NJMFTGPSDFSUBJOIJHIDPTU
+FSTFZ /FX:PSL 0SFHPO 1FOOTZMWBOJB 3IPEF*TMBOE 7FSNPOUPS           FNJTTJPOSFMBUFEQBSUT EFUFSNJOFECZB$BMJGPSOJBHPWFSONFOU
8BTIJOHUPO                                                                 TQFDJ䞫FEGPSNVMB

*UTDPWFSBHFFYJTUTJOBEEJUJPOUPUIBUPGUIF'FEFSBM&NJTTJPO%FGFDU     )ZVOEBJQSPWJEFTHSFBUFSXBSSBOUZDPWFSBHFPGZFBSTPS 
8BSSBOUZBOEUIF'FEFSBM&NJTTJPO1FSGPSNBODF8BSSBOUZ                    NJMFTGPSBMMFNJTTJPOSFMBUFEDPNQPOFOUTBOEZFBSTPS 
                                                                            NJMFTDPWFSBHFGPSDBUBMZUJDDPOWFSUFST UIFFMFDUSPOJDFOHJOFDPOUSPM
/05&5IFZFBSTPS NJMFTFYUFOEFEXBSSBOUZBQQMJFTUP           NPEVMF JODMVEFTUIFPOCPBSEFNJTTJPOTEJBHOPTUJDEFWJDF 
QBSUTDPWFSFEVOEFSUIF1FSGPSNBODFBOE%FGFDU8BSSBOUZBTMJTUFE
JO UIJT 0XOFST )BOECPPL UP 46-&7 WFIJDMFT TPME  SFHJTUFSFE BOE   8"33"/5:1"354-*45
PQFSBUFEJOUIFMJTUFETUBUFT VOEFSUIF8BSSBOUZ+VSJTEJDUJPOPGUIJT     5IFZFBST NJMFT$BMJGPSOJB&NJTTJPO$POUSPM4ZTUFN%FGFDU
TFDUJPO                                                                    8BSSBOUZDPWFSTBOZQBSUUIBUDBOBGGFDUFNJTTJPOT4PNFPGUIFTF
                                                                            DPOTJTUPGUIFGPMMPXJOHQBSUT




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             4&$5*0/                                   #:421
                                                       &.*44*0/$0/530-4:45&.48"33"/5:$"-*'03/*"7&)*$-&
             "JS*OEVDUJPO4ZTUFN                                                                                                               7BMWF5JNJOH4ZTUFN
4&$5*0/


                 "JS$MFBOFS"TTFNCMZ                                                                                                           $ZMJOEFS)F&MBOUSB"TTFNCMZ &MBOUSB55 7FMPTUFS5/5 ,POB5
                 *OUBLF.BOJGPME &MBOUSB55 7FMPTUFS5/5 ,POB5 5VDTPO5                                                                                    4POBUB55 1BMJTBEF &MBOUSB(55
                 4VSHF5BOL 1BMJTBEF                                                                                                  4BOUB'F5 5VDTPO5
                 5VSCPDIBSHFS"TTFNCMZ &MBOUSB55 7FMPTUFS5/5 ,POB5                                                 *OUBLF7BMWF &MBOUSB55 7FMPTUFS5/5 4POBUB55 
                 4POBUB55 &MBOUSB(55 4BOUB'F5                                                         ,POB5 &MBOUSB(55 4BOUB'F5 5VDTPO5
                *OUFSDPPMFS"TTFNCMZ &MBOUSB55 7FMPTUFS5/5 ,POB5                                                   &YIBVTU7BMWF &MBOUSB55 7FMPTUFS5/5 4POBUB55 
                &(3$PPMFS                                                                                                                                              ,POB5 &MBOUSB(55 4BOUB'F5 5VDTPO5
                &(37BMWF                                                                                                                         *OUBLF$BNTIBGU"TTFNCMZ &MBOUSB55 7FMPTUFS5/5 4POBUB5 
                .BQ4FOTPS"TTFNCMZ                                                                                                                                                                    1BMJTBEF ,POB5 4BOUB'F5 5VDTPO5
                "DUJWF"JS'MBQ%VDU"TTFNCMZ                                                                                                   &YIBVTU$BNTIBGU"TTFNCMZ &MBOUSB55 7FMPTUFS5/5 4POBUB5 
                &)34"TTFNCMZ                                                                                                                                                                          1BMJTBEF ,POB5 &MBOUSB(5 4BOUB'F5 5VDTPO5
                &)34853)PTF5VCF                                                                                                              *OUBLF$775"TTFNCMZ &MBOUSB55 7FMPTUFS5/5 4POBUB5 1BMJTBEF
             'VFM.FUFSJOH4ZTUFN                                                                                                                                                                        ,POB5 &MBOUSB(54BOUB'F5 5VDTPO5
                $PPMBOU5FNQFSBUVSF4FOTPS                                                                                                        &YIBVTU$775"TTFNCMZ &MBOUSB55 7FMPTUFS5/5 4POBUB5 
                "JS'MPX4FOTPS                                                                                                                                                                        1BMJTBEF ,POB5 &MBOUSB(54BOUB'F5 5VDTPO
                'VFM*OKFDUPST                                                                                                                    *OUBLF0JM$POUSPM7BMWF &MBOUSB5
                'VFM1VNQ &MBOUSB55 7FMPTUFS5/5 1BMJTBEF ,POB5                                       &YIBVTU0JM$POUSPM7BMWF
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                )JHI1SFTTVSF1VNQ 1BMJTBEF &MBOUSB(5 4BOUB'F5 5VDTPO                                           $BOJTUFS"TTFNCMZ
                )*()1SFTTVSF4FOTPS                                                                                                             $BOJTUFS$MPTF7BMWF
                5ISPUUMF#PEZ                                                                                                                    1VSHF$POUSPM7BMWF
                5ISPUUMF1PTJUJPO4FOTPS                                                                                                         'VFM5BOL"TTFNCMZ &MBOUSB55 7FMPTUFS5/5 4POBUB55 
                0YZHFO4FOTPS                                                                                                                                           1BMJTBEF ,POB54BOUB'F5 5VDTPO5
                &OHJOF$POUSPM.PEVMF "MMWFIJDMFT                                                                                       'VFM5BOL1SFTTVSF4FOTPS
                ,OPDL4FOTPS                                                                                                                   'VFM'JMMFS$BQ
                'VFM1SFTTVSF3FHVMBUPS                                                                                                          0373 7FOU 7BMWF
             *HOJUJPO4ZTUFN                                                                                                                       3PMMPWFS $VU 7BMWF
                4QBSL1MVHTBOE*HOJUJPO8JSFT                                                                                                   5IFSNPTUBU"TTFNCMZ
                $BNTIBGU1PTJUJPO4FOTPS                                                                                                         #SFBUIFS)PTF"TTFNCMZ
                $SBOLTIBGU1PTJUJPO4FOTPS                                                                                                       8BSNFS8BUFS7BMWF
                *HOJUJPO$PJM"TTFNCMZ                                                                                                        $IBSHJOH4ZTUFN
             $BUBMZTUBOE&YIBVTU4ZTUFN                                                                                                           "MUFSOBUPS
                &YIBVTU.BOJGPME$BUBMZUJD"TTFNCMZ "MMWFIJDMFT                                                                         #BUUFSZ4FOTPS
                &YIBVTU.BOJGPME 4POBUB 1BMJTBEF 4BOUB'F 5VDTPO                                                     0"%
                $BUBMZUJD$POWFSUFS"TTFNCMZ "MMWFIJDMFT                                                                             .JTDFMMBOFPVT*UFNT6TFE*O"CPWF4ZTUFNT
             1PTJUJWF$SBOLDBTF7FOUJMBUJPO4ZTUFN                                                                                                 )PTFT DMBNQT HBTLFUPSTFBMT
                1$77BMWFBOE)PTF                                                                                                               8JSFT IBSOFTTFT DPOOFDUPST
             "VUP5SBOTNJTTJPO4ZTUFN                                                                                                              "MMTFOTPST TXJUDIFT TPMFOPJET WBMWFT BTTPDJBUFEXJUIUIF&$.
                5SBOTNJTTJPO$POUSPM6OJU &MBOUSB5 7FMPTUFS5 1BMJTBEF                                              0OCPBSE&NJTTJPOT%JBHOPTUJD%FWJDF *ODMVEFEJO&OHJOF$POUSPM.PEVMF  "MM7FIJDMFT
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                 "VUP5SBOTNJTTJPO'MVJE8BSNFS &MBOUSB5                                                                         %BUB-JOL$POOFDUPS
             4QBSLQMVHTTIBMMCFXBSSBOUFEGPSUIFFNJTTJPOTXBSSBOUZQFSJPE PSUIF䞫STUTDIFEVMFESFQMBDFNFOUUJNFPSNJMFBHF XIJDIFWFSPDDVST䞫STU

             /05&1BSUTEFTJHOBUFECZBSFXBSSBOUFEGPSZFBSTPS NJMFT XIJDIFWFSPDDVST䞫STUVOEFSUIF'FEFSBM&NJTTJPO8BSSBOUZ
                       7FIJDMFT$PWFSFECZUIF$BMJGPSOJB&NJTTJPO$POUSPM4ZTUFN8BSSBOUZJTBMTP$PWFSFECZUIF'FEFSBM&NJTTJPO8BSSBOUZ
             /05&1BSUTEFTJHOBUFECZBSFXBSSBOUFEGPSZFBSTPS NJMFT XIJDIFWFSPDDVST䞫STUVOEFSUIF'FEFSBM&NJTTJPO8BSSBOUZ
             /05&4QFDJ䞫DFNJTTJPOQBSUTDPWFSFEVQUPZFBSTPS NJMFT XIJDIFWFSPDDVST䞫STU PSVQUPUIF䞫STUSFRVJSFETDIFEVMFENBJOUFOBODF XIJDIFWFSPDDVST䞫STU
                        4FF)ZVOEBJ0XOFST.BOVBMGPSSFRVJSFETDIFEVMFENBJOUFOBODF 
             /05&5IFBCPWFQBSUTGPSBO&MBOUSBBOE4POBUBDFSUJ䞫FEBTBTVQFSVMUSBMPXFNJTTJPOWFIJDMF 46-&7 BSFXBSSBOUFEGPSZFBSTPS NJMFT XIJDIFWFSPDDVST䞫STU VOEFSUIF$BMJGPSOJB&NJTTJPO8BSSBOUZ


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4&$5*0/                            #:422$"-*'03/*"&.*44*0/$0/530-4:45&.48"33"/5:

4PNFJUFNTBSFTDIFEVMFEGPSSFQMBDFNFOUBTQBSUPGUIFSFRVJSFE               8)"5*4/05$07&3&%




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3FQMBDFNFOUPGUIFTFJUFNTJTXBSSBOUFEVQUPUIFGJSTUSFQMBDFNFOU
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JOUFSWBMPSVQUPUIFMJNJUTPGUIFBQQMJDBCMF&NJTTJPO8BSSBOUZDPWFSBHF
                                                                                8"33"/5:4)"--/05"11-:50
QFSJPE XIJDIFWFSPDDVST䞫STU 3FGFSUPUIF4DIFEVMFE.BJOUFOBODFDIBSU
JOUIF)ZVOEBJ0XOFSsT.BOVBM "OZTVDIQBSUSFQBJSFEPSSFQMBDFEVOEFS
                                                                                 . BMGVODUJPOT JO BOZ QBSU EJSFDUMZ DBVTFE CZ BCVTF  NJTVTF 
XBSSBOUZTIBMMCFXBSSBOUFEGPSUIFSFNBJOEFSPGUIFXBSSBOUZQFSJPEGPS
                                                                                    NPEJGJDBUJPO  JNQSPQFS BEKVTUNFOU FYDFQU UIPTF EPOF CZ B
UIBUQBSU
                                                                                    EFBMFSTIJQEVSJOHXBSSBOUZTFSWJDFXPSL BMUFSBUJPOT UBNQFSJOH 
                                                                                    EJTDPOOFDUJPOT  JNQSPQFS PS JOBEFRVBUF NBJOUFOBODF  OFHMFDU
*GUIFGBJMVSFPGBXBSSBOUFEDPNQPOFOUDBVTFTEBNBHFUPBOZPUIFS
                                                                                    PSVTFPGMFBEFEHBTPMJOFPSPUIFSGVFMTOPUSFDPNNFOEFEJOUIF
WFIJDMFQBSU CPUIQBSUTXJMMCFDPWFSFECZUIF&NJTTJPO8BSSBOUJFT
                                                                                    )ZVOEBJ0XOFSsT.BOVBM
                                                                                 %BNBHFSFTVMUJOHGSPNBOBDDJEFOUPSBO"DUPG(PE
8"33"/5:45"35%"5&                                                             "OZWFIJDMFPOXIJDIUIFPEPNFUFSSFBEJOHIBTCFFOBMUFSFETPUIBU
5IFBCPWFNFOUJPOFEXBSSBOUZQFSJPETTIBMMCFHJOPOUIFEBUFUIF                   BDUVBMNJMFBHFDBOOPUCFSFBEJMZEFUFSNJOFE
WFIJDMFJTEFMJWFSFEUPUIF䞫STUSFUBJMQVSDIBTFSPS JGUIFWFIJDMFJT䞫STU    'BJMVSFTUIBUBSFBEJSFDUSFTVMUPGBMBDLPGQFSGPSNBODFPGSFRVJSFE
QMBDFEJOTFSWJDFBTBEFNPOTUSBUPSPSDPNQBOZDBSQSJPSUPTBMFBU                FNJTTJPODPOUSPMNBJOUFOBODFBTPVUMJOFEJOUIF)ZVOEBJ0XOFSsT
SFUBJM POUIFEBUFUIFWFIJDMFJT䞫STUQMBDFEJOTVDITFSWJDF                     .BOVBM
                                                                                 1BSUTPSBDDFTTPSJFTVTFEJOBQQMJDBUJPOTGPSXIJDIUIFZXFSFOPU
                                                                                    EFTJHOFEPSOPUBQQSPWFEGPSVTFPOUIFWFIJDMFCZ)."
                                                                                 1BSUTOPUTVQQMJFECZ)."PSEBNBHFUPPUIFSQBSUTDBVTFEEJSFDUMZ
                                                                                    CZOPO)ZVOEBJQBSUTPSOPOFRVJWBMFOUQBSUT
                                                                                 5 IF DIBSHF GPS EJBHOPTUJD MBCPS XIJDI EPFT OPU MFBE UP UIF
                                                                                    EFUFSNJOBUJPOUIBUBXBSSBOUBCMFDPOEJUJPOFYJTUT




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              * /$*%&/5"-03$0/4&26&/5*"-%"."(&4"440$*"5&%8*5)                       )PXFWFS UIFDPTUPGTVDINBJOUFOBODFBOEQBSUTXJMMOPUCFDPWFSFE
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                 5*.&*/$0/7&/*&/$&$0450'53"/41035"5*0/5&-&1)0/&                     UP&NFSHFODZ3FQBJSGPSEF䞫OJUJPOPGFNFSHFODZSFQBJSTJUVBUJPO 
                 $"--4 "/% -0%(*/( -044 0' 1&340/"- 03 $0..&3$*"-
                 1301&35:-0440'1":033&7&/6&"/%-0440'64&0'5)&                   6TF PG SFQMBDFNFOU QBSUT XIJDI BSF OPU FRVJWBMFOU JO RVBMJUZ UP
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                                                                                             DPOUSPMTZTUFN:PVTIPVMENBLFTVSFTVDIQBSUTBSFXBSSBOUFECZ
             5IF EVSBUJPO PG BOZ JNQMJFE XBSSBOUJFT  JODMVEJOH UIPTF PG             UIFJSNBOVGBDUVSFSUPCFFRVJWBMFOUJOEFTJHOBOERVBMJUZUP)ZVOEBJ
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             SFHBSEJOHFNJTTJPOTTZTUFNTEFGFDUTBSFMJNJUFEUPUIFEVSBUJPOPGUIJT       WFIJDMFEBNBHFDBVTFECZBEFGFDUJOBOZTVDIQBSUT
             MJNJUFEXBSSBOUZ
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             4PNFTUBUFTEPOPUBMMPXMJNJUBUJPOTPOIPXMPOHBOJNQMJFEXBSSBOUZ
                                                                                             5PPCUBJOXBSSBOUZTFSWJDF ZPVNVTUSFUVSOZPVS)ZVOEBJWFIJDMF
             MBTUT PS UIF FYDMVTJPO PS MJNJUBUJPO PG JODJEFOUBM PS DPOTFRVFOUJBM
                                                                                             UP BOZ BVUIPSJ[FE )ZVOEBJ EFBMFSTIJQ JO $BMJGPSOJB  $POOFDUJDVU 
             EBNBHF TPUIFMJNJUBUJPOTPSFYDMVTJPOTTFUGPSUISFHBSEJOHUIJTMJNJUFE
                                                                                             %FMBXBSF .BJOF .BSZMBOE .BTTBDIVTFUUT /FX+FSTFZ /FX:PSL 
             XBSSBOUZNBZOPUBQQMZUPZPV
                                                                                             0SFHPO 1FOOTZMWBOJB 3IPEF*TMBOE 7FSNPOUPS8BTIJOHUPOEVSJOHJUT
                                                                                             OPSNBMTFSWJDFCVTJOFTTIPVST XIFSFTVDITFSWJDFXJMMCFQFSGPSNFE
             3&1-"$&.&/51"354
             *UJTSFDPNNFOEFEUIBUBOZSFQMBDFNFOUQBSUTVTFEGPSNBJOUFOBODF 
             SFQBJSPSSFQMBDFNFOUPGUIFFNJTTJPODPOUSPMTZTUFNCFQBSUTTVQQMJFE
             CZ)."

             .BJOUFOBODF SFQBJSPSSFQMBDFNFOUPGUIFFNJTTJPODPOUSPMTZTUFN
             NBZ CF QFSGPSNFE CZ BOZ RVBMJGJFE BVUPNPUJWF SFQBJS GBDJMJUZ PS
             JOEJWJEVBM  VTJOH QBSUT PUIFS UIBO )ZVOEBJ (FOVJOF 1BSUT XJUIPVU
             JOWBMJEBUJOHUIJTXBSSBOUZ


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8IFOGBJMJOHB4NPH$IFDLUFTU BOBVUIPSJ[FE)ZVOEBJEFBMFSTIJQ           5IF MBDL PG BWBJMBCJMJUZ PG XBSSBOUFE QBSUT XJUIJO  EBZT TIBMM




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NBZBTLUIFPXOFSUPQSPWJEFQSPPGUIBUUIFSFRVJSFENBJOUFOBODFXBT       DPOTUJUVUFBOFNFSHFODZTJUVBUJPO TFF&.&3(&/$:3&1"*3 
QFSGPSNFEXIFOUIFEFBMFSTIJQIBTSFBTPOUPCFMJFWFUIBUUIFSFRVJSFE
NBJOUFOBODF                                                                &.&3(&/$:3&1"*3
                                                                            *O BO FNFSHFODZ  XIFSF BO BVUIPSJ[FE )ZVOEBJ EFBMFSTIJQ JT OPU
   P 8BTOPUQFSGPSNFEBOE
                                                                            SFBTPOBCMZBWBJMBCMF XBSSBOUZSFQBJSTNBZCFNBEFBUBOZBWBJMBCMF
   P *GOPUQFSGPSNFE NBZCFUIFDBVTFGPSUIFQBSUJDVMBSWFIJDMF
                                                                            TFSWJDFGBDJMJUZ PSCZUIFPXOFSVTJOHBOZSFQMBDFNFOUQBSU"SFQBJS
      FYDFFEJOHBQQMJDBCMFFNJTTJPOTUBOEBSET
                                                                            OPUCFJOHDPNQMFUFEXJUIJOEBZTBMTPDPOTUJUVUFTBOFNFSHFODZ

'PSB4NPHDIFDLUFTUGBJMVSF JGZPVS8BSSBOUZ$MBJNVOEFSUIF
                                                                            )."XJMMSFJNCVSTFZPVGPSZPVSFYQFOTFTJODMVEJOHEJBHOPTUJDDIBSHFT 
$BMJGPSOJB&NJTTJPO$POUSPM4ZTUFNT-JNJUFE8BSSBOUJFTJTEFOJFE )."
                                                                            GPSSFQBJSTDPWFSFECZUIJTXBSSBOUZ GPSQBSUTBU)."sTTVHHFTUFE
PSJUTEFBMFSTIJQXJMMQSPWJEFZPVXJUIBXSJUUFOFYQMBOBUJPOPGXIZUIF
                                                                            SFUBJMQSJDF BOEGPSMBCPSBUBHFPHSBQIJDBMMZBQQSPQSJBUFMBCPSSBUFQFS
DMBJNXBTEFOJFEXJUIJOEBZTGSPNUIFUJNFZPVCSJOHUIFDBSUPB
                                                                            )."sTSFDPNNFOEFEUJNFBMMPXBODF'PSSFJNCVSTFNFOU QSFTFOU
)ZVOEBJEFBMFSTIJQ
                                                                            BMMSFQMBDFEQBSUTBOEBDPQZPGZPVSQBJESFDFJQUUPBOZBVUIPSJ[FE
                                                                            )ZVOEBJEFBMFSTIJQ)."BTTVNFTOPMJBCJMJUZGPSUIFXPSLNBOTIJQPG
*GUIFBVUIPSJ[FE)ZVOEBJ%FBMFSTIJQEPFTOPUOPUJGZUIFWFIJDMFPXOFS
                                                                            UIFSFQBJSGBDJMJUZ
XJUIJOEBZTUIBUBXBSSBOUBCMFDPOEJUJPOEPFTOPUFYJTU UIFO)."
XJMMSFQBJSUIFWFIJDMFGSFFPGDIBSHF VOMFTT

   P 5 IFEFMBZJTSFRVFTUFECZZPV UIF)ZVOEBJWFIJDMFPXOFS PS
   P 5IFEFMBZJTDBVTFECZGBDUPSTCFZPOEUIFDPOUSPMPG)."PSBO
       BVUIPSJ[FE)ZVOEBJEFBMFSTIJQ




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             $"-*'03/*"7&)*$-&*/41&$5*0/130(3".                                         *GZPVS)ZVOEBJWFIJDMFJTEFUFSNJOFEUPGBJMUIF4NPH$IFDLUFTU
4&$5*0/



                                                                                           CZTVDITFSWJDFGBDJMJUZ ZPVNBZEFMJWFSZPVS)ZVOEBJWFIJDMFUPBO
             *GZPVS)ZVOEBJWFIJDMFGBJMTUPQBTTB4NPH$IFDLUFTUBGUFSB
                                                                                           BVUIPSJ[FE)ZVOEBJEFBMFSTIJQBOEIBWFJUSFQBJSFEGSFFPGDIBSHFJO
             QFSJPEPGVTFPGZFBSTPS NJMFT CVUCFGPSFBQFSJPEPGVTFPG
                                                                                           BDDPSEBODFXJUIUIJTXBSSBOUZ
             ZFBSTPS NJMFT XIJDIFWFSPDDVST䞫STU ZPVNBZDIPPTFUPIBWF
             ZPVSWFIJDMFSFQBJSFEBUBOBVUIPSJ[FE)ZVOEBJEFBMFSTIJQPSBOPUIFS
             TFSWJDFGBDJMJUZ                                                             0#5"*/*/(8"33"/5:4&37*$&
                                                                                           *OUIFFWFOUPGB$MBJN ZPVNVTUSFUVSOZPVSWFIJDMFUPBOBVUIPSJ[FE
             *OUIFFWFOUUIBUUIF)ZVOEBJEFBMFSTIJQPSEFUFSNJOFTUIBUUIFTNPH         )ZVOEBJEFBMFSTIJQGPSFYBNJOBUJPOBOEBQQSPWBMCZ)ZVOEBJQSJPSUP
             DIFDLGBJMVSFXBTDBVTFECZUIFGBJMVSFPSNBMGVODUJPOPGBQBSUMJTUFE      BOZSFQBJSPSSFQMBDFNFOU
             JOUIJT0XOFST)BOECPPLTQFDJBMMZOPUFEXJUIDPWFSBHFGPSZFBST
             PS NJMFT UIFOZPVS)ZVOEBJWFIJDMFXJMMCFSFQBJSFEVOEFS            8BSSBOUZTFSWJDFXJMMCFQSPWJEFECZBVUIPSJ[FE)ZVOEBJEFBMFSTIJQ
             UIJTMJNJUFEXBSSBOUZBUOPFYQFOTFUPZPV VOMFTTUIFQBSUGBJMVSFPS       XJUIPVUDIBSHFGPSQBSUTPSMBCPS
             NBMGVODUJPOXBTDBVTFECZBCVTF OFHMFDU PSJNQSPQFSNBJOUFOBODF

             )PXFWFS JGUIFBVUIPSJ[FE)ZVOEBJEFBMFSTIJQEFUFSNJOFTUIBUUIF
             TNPHDIFDLGBJMVSFXBTEJSFDUMZDBVTFECZBCVTF OFHMFDU PSJNQSPQFS
             NBJOUFOBODF UIFOZPVXJMMCFSFTQPOTJCMFGPSBMMEJBHOPTUJDBOESFQBJS
             DPTUTSFMBUFEUPEFUFDUJOHBOESFQBJSJOHZPVS)ZVOEBJWFIJDMFTPJU
             XJMMQBTTUIF4NPH$IFDLUFTU*GZPVDIPPTFUPIBWFZPVS)ZVOEBJ
             WFIJDMFSFQBJSFEBUBTFSWJDFGBDJMJUZPUIFSUIBOBOBVUIPSJ[FE)ZVOEBJ
             EFBMFSTIJQ  )." XJMM OPU CF MJBCMF GPS BOZ EJBHOPTUJD BOE SFQBJS
             FYQFOTFT  FYDFQU XIFSF TVDI SFQBJS JT OFDFTTBSZ CZ SFBTPO PG BO
             FNFSHFODZ




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8)"5*4$07&3&%                                                              3&1-"$&.&/51"358"33"/5:1&3*0%




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8BSSBOUZDPWFSBHFJTGPSSFQBJSPSSFQMBDFNFOUPGBOZ)ZVOEBJ(FOVJOF       5IF3FQMBDFNFOU1BSUT-JNJUFE8BSSBOUZQFSJPEJTMJNJUFEUPZFBS
3FQMBDFNFOU1BSUPS"DDFTTPSZTVQQMJFEGSPN)ZVOEBJ.PUPS"NFSJDB           GSPNUIFEBUFPGJOTUBMMBUJPO PSUXFMWFUIPVTBOE   NJMFTPG
XIJDI JT GPVOE UP CF EFGFDUJWF JO NBUFSJBM PS XPSLNBOTIJQ VOEFS   TFSWJDF XIJDIFWFSPDDVST䞫STU GPS)ZVOEBJ(FOVJOFSFQMBDFNFOUQBSUT
OPSNBMVTFBOENBJOUFOBODF FYDFQUBOZJUFNTQFDJ䞫DBMMZSFGFSSFEUP         TVQQMJFECZ)."BOEQVSDIBTFEGSPNBOEJOTUBMMFECZBOBVUIPSJ[FE
JOUIFTFDUJPO8IBUJT/PU$PWFSFE                                        )ZVOEBJEFBMFSTIJQ1BSUTSFQMBDFEVOEFSUIFUFSNTPGUIF/FX7FIJDMF
                                                                             -JNJUFE 8BSSBOUZ  1PXFSUSBJO -JNJUFE 8BSSBOUZ  'FEFSBM &NJTTJPO
3FQBJSTBSFUPCFQFSGPSNFEVTJOH/FX)ZVOEBJ(FOVJOF1BSUTPS              %FGFDU8BSSBOUZ 'FEFSBM&NJTTJPO1FSGPSNBODF8BSSBOUZPS$BMJGPSOJB
)ZVOEBJBVUIPSJ[FESFNBOVGBDUVSFEQBSUT                                     &NJTTJPO$POUSPM4ZTUFNT8BSSBOUZ BSFXBSSBOUFEGPSUIFSFNBJOEFSPG
                                                                             UIFBQQMJDBCMFXBSSBOUZXIJDIUIFQBSUXBTQSFWJPVTMZSFQMBDFEVOEFS
1BSUT"DDFTTPSJFT UIBU XFSF TPME BOE JOTUBMMFE CZ BO "VUIPSJ[FE
)ZVOEBJ%FBMFSTIJQXJMMCFSFQBJSFEPSSFQMBDFEXJUIPVUDIBSHFGPS          $FSUBJO&NJTTJPO$POUSPM4ZTUFNJUFNTSFRVJSFTDIFEVMFESFQMBDFNFOU
QBSUTBDDFTTPSJFTBOEMBCPS*GUIFQBSUTBDDFTTPSJFTXFSFOPUPSJHJOBMMZ   BTQBSUPGUIFTDIFEVMFENBJOUFOBODFPGUIFWFIJDMF JFTQBSLQMVHT 
JOTUBMMFECZBO"VUIPSJ[FE)ZVOEBJ%FBMFSTIJQ UIFZXJMMCFSFQBJSFEPS     3FQMBDFNFOUPGUIFTFJUFNTJTXBSSBOUFEJOOPSNBMTFSWJDFVQUPUIF
SFQMBDFEXJUIPVUDIBSHFGPSQBSUTBDDFTTPSJFT CVUMBCPSDIBSHFTXJMM       䞫STUSFQMBDFNFOUJOUFSWBMPOMZ 3FGFSUPUIF)ZVOEBJ0XOFSsT.BOVBM
OPUCFDPWFSFE                                                             BOEJUTTDIFEVMFENBJOUFOBODFTFDUJPO (FOVJOF)ZVOEBJ1BSUTBOE
                                                                             "DDFTTPSJFT TVQQMJFE CZ )." BOE QVSDIBTFE GSPN BO BVUIPSJ[FE
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"/%-0%(*/(-0440'1&340/"-03$0..&3$*"-1301&35:
-0440'1":033&7&/6&"/%-0440'64&0'5)&7&)*$-& "3&
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                                                    3&1-"$&.&/51"354"/%"$$&4403*&4-*.*5&%8"33"/5:

             "$$&4403:8"33"/5:1&3*0%                                                          08/&3s43&410/4*#*-*5*&4"/%0#-*("5*0/4
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             " )ZVOEBJ (FOVJOF BDDFTTPSZ JOTUBMMFE CZ BO BVUIPSJ[FE )ZVOEBJ             1
                                                                                                   SPQFS VTF  NBJOUFOBODF  BOE DBSF PG UIF WFIJDMF QBSU  JO
             EFBMFSTIJQ PO B OFX WFIJDMF BU UIF UJNF PG  QSJPS UP  PS BGUFS UIF      BDDPSEBODFXJUIUIFJOTUSVDUJPOTDPOUBJOFEJOUIF)ZVOEBJ0XOFSsT
             WFIJDMFsTEBUFPGEFMJWFSZUPUIFPSJHJOBMSFUBJMQVSDIBTFS PSUIFEBUF             .BOVBM
             UIFWFIJDMFJT䞫STUQVUJOUPTFSWJDF JTDPWFSFEVOEFSUIF/FX7FIJDMF             3FUFOUJPOPGNBJOUFOBODFTFSWJDFSFDPSET*UNBZCFOFDFTTBSZ
             -JNJUFE8BSSBOUZBOEJTMJNJUFEUPZFBSTGSPNUIFEBUFPGPSJHJOBM                 GPS UIF DVTUPNFS UP EFNPOTUSBUF BOE QSPWF UIBU UIF SFRVJSFE
             SFUBJMEFMJWFSZPSEBUFPG䞫STUVTF PSVOMJNJUFENJMFT XIJDIFWFSPDDVST            NBJOUFOBODFIBTCFFOQFSGPSNFE BTTQFDJGJFEJOUIF)ZVOEBJ
             䞫STU                                                                                 0XOFSsT.BOVBM
                                                                                                 3FUFOUJPOPGUIFDVTUPNFSsTDPQZPGUIFPSJHJOBMSFQBJSPSEFSPS
             ")ZVOEBJ(FOVJOFBDDFTTPSZQVSDIBTFEPWFSUIFDPVOUFSJT                             PSJHJOBMQBSUDPVOUFSTBMFTSFDFJQUT5IFSFQBJSPSEFSPSTBMFTTMJQ
             XBSSBOUFEGPSZFBSVOMJNJUFENJMFBHF                                              SFDFJQUXJMMTUBUFUIFEBUFPGUIFQBSUTTBMF'PSQBSUTPSJHJOBMMZ
                                                                                                   JOTUBMMFECZBOBVUIPSJ[FE)ZVOEBJEFBMFSTIJQ UIFSFQBJSPSEFS
             "O BJS DPOEJUJPOJOH TZTUFN JOTUBMMFE CZ BO BVUIPSJ[FE )ZVOEBJ                NVTUBMTPTUBUFUIFNJMFBHFPGUIFWFIJDMFBUUIFUJNFPGPSJHJOBM
             EFBMFSTIJQJTDPWFSFEGPSZFBSPSUXFMWFUIPVTBOE   NJMFT                   SFQMBDFNFOU
             XIJDIFWFSPDDVSTGJSTU PSUIFSFNBJOEFSPGUIF/FX7FIJDMF-JNJUFE                %FMJWFSZPGUIFQBSUPSBDDFTTPSZBOETVQQPSUJOHEPDVNFOUBUJPO
             8BSSBOUZ XIJDIFWFSJTHSFBUFS GSPNUIFEBUFPGJOTUBMMBUJPO"O".                 JOEJDBUJOHUIFEBUFBOE JGBQQMJDBCMF NJMFBHFBUUJNFPGQVSDIBTFBOE
             '.SBEJP BJSDPOEJUJPOJOHTZTUFN #MVFUPPUIPSOBWJHBUJPOBMTZTUFN                  JOTUBMMBUJPOEVSJOHSFHVMBSQBSUTBOEPSTFSWJDFIPVSTUPBOZBVUIPSJ[FE
             QVSDIBTFEPWFSUIFDPVOUFSJTXBSSBOUFEGPSZFBSVOMJNJUFENJMFBHF                )ZVOEBJEFBMFSTIJQUPPCUBJOXBSSBOUZTFSWJDF
             ".'.SBEJP OBWJHBUJPOBMTZTUFN BOE#MVFUPPUIBSFDPWFSFEGPS
             ZFBSVOMJNJUFENJMFBHFJGQVSDIBTFEBOEJOTUBMMFEBGUFSUIFWFIJDMFIBT
             CFFOSFUBJMFEPSQMBDFEJOUPTFSWJDF




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8)"5*4/05$07&3&%                                                             5
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 /PSNBM NBJOUFOBODF TFSWJDFT PG QBSUT PS BDDFTTPSJFT TVDI BT
                                                                                 MJNJUFEUPUIFEVSBUJPOPGUIJTMJNJUFEXBSSBOUZ
   DMFBOJOH BEKVTUNFOUPSSFQMBDFNFOU JFTQBSLQMVHTUIBUBSFPJM
   GPVMFE MFBEGPVMFE PSXIJDIGBJMEVFUPUIFVTFPGMPXHSBEFPS
                                                                              4PNFTUBUFTEPOPUBMMPXMJNJUBUJPOTPOIPXMPOHBOJNQMJFEXBSSBOUZ
   DPOUBNJOBUFEGVFM 
                                                                              MBTUT PSUIFFYDMVTJPOPSMJNJUBUJPOTPGJODJEFOUBMPSDPOTFRVFOUJBM
 1 BSUT PS BDDFTTPSJFT UIBU GBJM EVF UP BCVTF  NJTVTF  OFHMFDU 
                                                                              EBNBHFT TPUIFMJNJUBUJPOPSFYDMVTJPOTTFUGPSUISFHBSEJOHUIJTMJNJUFE
   BMUFSBUJPOPSBDDJEFOU PSXIJDIIBWFCFFOJNQSPQFSMZMVCSJDBUFEPS
                                                                              XBSSBOUZNBZOPUBQQMZUPUIFPXOFS
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 1BSUTPSBDDFTTPSJFTVTFEJOBQQMJDBUJPOTGPSXIJDIUIFZXFSFOPU
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   EFTJHOFEPSOPUBQQSPWFECZ)."
                                                                              7FIJDMFT XIJDI DPOUBJO OPO)ZVOEBJ (FOVJOF QBSUT  PS XIJDI
 'BJMVSFTEVFUPOPSNBMXFBS
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 'BJMVSFTDBVTFECZOPO)ZVOEBJQBSUT
                                                                              DPWFSBHF VOEFS UIF 3FQMBDFNFOU 1BSUT BOE "DDFTTPSJFT -JNJUFE
 "OZWFIJDMFPOXIJDIUIFPEPNFUFSSFBEJOHIBTCFFOBMUFSFETPUIBU
                                                                              8BSSBOUZEFOJFE VOMFTTUIFOPO)ZVOEBJ(FOVJOFQBSU UIFNJTVTF 
   NJMFBHFDBOOPUCFBDDVSBUFMZEFUFSNJOFE
                                                                              PSUIFJNQSPQFSNBJOUFOBODFEJSFDUMZDBVTFEPSDPOUSJCVUFEUPUIF
 "OZQBSUQSFWJPVTMZSFQMBDFEVOEFSUIFUFSNTPGUIF/FX7FIJDMF-JNJUFE
                                                                              TVCTFRVFOUQSPCMFN
   8BSSBOUZ 1PXFSUSBJO-JNJUFE8BSSBOUZ 'FEFSBM&NJTTJPO%FGFDU
   8BSSBOUZ 'FEFSBM&NJTTJPO1FSGPSNBODF8BSSBOUZPS$BMJGPSOJB&NJTTJPO
   $POUSPM4ZTUFNT8BSSBOUZ                                                 0#5"*/*/(8"33"/5:4&37*$&
 */$*%&/5"-03$0/4&26&/5*"-%"."(&4"440$*"5&%8*5)                       8BSSBOUZ 4FSWJDF XJMM CF QSPWJEFE CZ BOZ BVUIPSJ[FE )ZVOEBJ
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